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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ROCHELLE GARZA, as guardian ad litem to )
unaccompanied minor J.D., on behalf of         )
herself and others similarly situated, et al., )
                                               )
                       Plaintiffs,             )
                                               )     No. 17-cv-02122-TSC
 v.                                            )
                                               )
ALEX M. AZAR II, et al.,                       )
                                               )
                       Defendants.             )
                                               )

           PLAINTIFFS’ NOTICE OF FILING DEPOSITION TRANSCRIPTS
       Plaintiffs submit the attached deposition transcripts of Defendant Lloyd and Jonathon

White taken on February 13, 2018, in ACLU of Northern California v. Azar, No. 16-cv-3539-LB.

The transcripts have been redacted pursuant to the parties’ protective order in that case. These

transcripts are the continuation of the depositions taken on December 18 and 19, 2018, that were

previously filed with this Court (ECF No. 121-5, ECF No. 121-15).

April 4, 2018                                Respectfully submitted,


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                                             /s/Brigitte Amiri
                                             Brigitte Amiri*
                                             Meagan Burrows
                                             Jennifer Dalven
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                                                1
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                            Attorneys for Plaintiffs




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           EXHIBIT A
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                                                                     Page 184
            IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF CALIFORNIA
                   San Francisco Division
- - - - - - - - - - - - - - -
                                      |
AMERICAN CIVIL LIBERTIES              |
UNION OF NORTHERN                     |
CALIFORNIA,                           |
                                      |
                 Plaintiff,           |   Case Number:
                                      |
v.                                    |   3:16-cv-3539-LB
                                      |
ERIC G. HARGAN, Acting                |
Secretary of Health and               |
Human Services, et al.,               |
                                      |
                 Defendants,          |
v.                                    |
                                      |
U.S. CONFERENCE OF                    |
CATHOLIC BISHOPS,                     |
                                      |
     Defendant-Intervenor.            |
                                      |
- - - - - - - - - - - - - - -


                    VIDEOTAPED DEPOSITION OF
                SCOTT LLOYD, ESQUIRE, VOLUME II
                         Washington, D.C.
           Tuesday, February 13, 2018 - 10:25 a.m.




Reported by:
Ann Medis, RPR
Job No. 20790


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                                                                       Page 185
 1
 2                    Videotaped Deposition of
 3                SCOTT LLOYD, ESQUIRE, VOLUME II
 4
 5   Held at the offices of:
 6              U.S. Department of Justice
 7              20 Massachusetts Avenue, N.W.
 8              Washington, D.C.       20001
 9              202.353.4556
10
11
12
13
14
15
16                   Taken pursuant to notice, before Ann
17           Medis, Registered Professional Reporter,
18           and notary public in and for the District
19           of Columbia.
20
21
22
23
24
25


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                                                                       Page 186
 1                       A P P E A R A N C E S
 2   ON BEHALF OF PLAINTIFF
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 7
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     OF HEALTH AND HUMAN SERVICES
 9
                UNITED STATES DEPARTMENT OF JUSTICE
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13
14   ON BEHALF OF DEFENDANT-INTERVENOR USCCB
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18              jspencer@gibsondunn.com
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19
20   ALSO PRESENT
21              Kim Johnson, Videographer
22              Llewellyn Woolford, Esquire, HHS
23              Caitlin Palacios, Esquire, HHS
24              Rachel Chrisinger, Paralegal
25


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                                                                       Page 189
 1                       P R O C E E D I N G S
 2                               - - - -
 3                THE VIDEOGRAPHER:     This is Media Number
 4   1 in the videotaped deposition of Scott Lloyd
 5   taken in the matter of American Civil Liberties
 6   Union of Northern California versus Burwell,
 7   et al., Case No. 3:16-cv-3539-LV in the U.S.
 8   District Court of Northern California, San
 9   Francisco division.
10       This deposition is being held at 20
11   Massachusetts Avenue, Northwest, Washington, D.C.,
12   on February 13, 2018 at approximately 10:25 a.m.
13       My name is Kim Johnson, and I'm a legal video
14   specialist.    The court reporter today is Ann
15   Medis.   Both are in association with TransPerfect.
16       Will counsel please introduce yourself and
17   state whom you represent.
18              MS. AMIRI:     Brigitt Amiri for the
19   plaintiff.
20              MS. BURROWS:     Meagan Burrows for the
21   plaintiff.
22              MR. TOMLINSON:      Martin Tomlinson for the
23   federal defendants.
24              MR. WOOLFORD:      Llewellyn Woolford for
25   the federal defendants U.S. Department of Health


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                                                                       Page 190
 1   and Human Resources.
 2              MS. PALACIOS:      Caitlin Palacios, U.S.
 3   Department of Health and Human Services.
 4              MR. SPENCER:     Jacob Spencer for the
 5   defendant-intervenor USCCB.        Rob Dunn also for the
 6   defendant-intervenor.
 7              THE VIDEOGRAPHER:       Will the court
 8   reporter please swear in the witness.
 9                       SCOTT LLOYD, ESQUIRE,
10         having been first duly sworn, was examined
11                    and testified as follows:
12                     EXAMINATION (Continued)
13   BY MS. AMIRI:
14       Q.     Good morning, Mr. Lloyd.
15       A.     Good morning.
16       Q.     Have you finalized any policies related
17   to abortion since your deposition on December 18?
18       A.     No.
19       Q.     Have you spoken with anyone at the U.S.
20   Conference of Catholic Bishops about abortion
21   since your deposition on December 18?
22       A.     Abortion, no.
23       Q.     Have you spoken with anyone at Catholic
24   Charities about abortion since your deposition on
25   December 18?


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                                                                       Page 191
 1        A.     No.
 2        Q.     Have you spoken with any religiously
 3   affiliated shelter about abortion since
 4   December 18?
 5        A.     I don't think so.
 6        Q.     Have you spoken with any shelter about
 7   abortion since December 18?
 8        A.     I believe so, yes.
 9        Q.     And do you know whether any of those
10   shelters had a religious objection to providing
11   access to abortion?
12       A.      I don't know, but I don't think so.
13       Q.      What shelters did you speak with about
14   abortion since your deposition?
15       A.      I don't recall.
16       Q.      How many shelters did you speak with
17   about it?
18       A.      Two or three.
19       Q.      And you don't remember the names of
20   those shelters?
21       A.      No.
22       Q.      What was the substance of the
23   conversation?
24       A.      Instructions regarding the handling of
25   termination requests.


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                                                                       Page 192
 1        Q.     Were those instructions from you to the
 2   shelters?
 3        A.     In some cases, yeah.
 4        Q.     Let's start in the case that -- in one
 5   or more cases, did you provide instructions to
 6   shelters about abortion requests?
 7        A.     Yes, either directly or through our
 8   staff.
 9        Q.     So let's start with the ones directly.
10       A.      I think it's more through our staff
11   actually.
12       Q.      Let's start with any direct
13   communication you had with shelters with respect
14   to abortion since your deposition.
15       A.      Okay.
16       Q.      What were those communications?
17       A.      Answering questions.
18       Q.      What types of questions?
19       A.      How should we proceed if this or that
20   happens.
21       Q.      And what were your answers?        What were
22   your instructions?
23       A.      It depended on the question.
24       Q.      So let's isolate a particular time that
25   you were in direct conversation with a shelter


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                                                                       Page 193
 1   about an abortion request.
 2        Were any of those conversations about
 3   religious objection that the shelter had to
 4   providing access to abortion?
 5        A.    No.
 6        Q.    Were any of those shelters raising
 7   religious objections that their staff had about
 8   access to abortion?
 9        A.    No.
10       Q.     We'll get to some documents that were
11   produced since your last deposition.          So perhaps
12   as we're going through those, we can talk about
13   the different conversations you may have had
14   directly with shelters, and that may refresh your
15   recollection.     If there's any shelters that you
16   have talked to that are not in the documents that
17   we produce, then we can try to isolate those when
18   we get there.
19       How many abortion requests have come to your
20   attention since your deposition on December 18?
21       A.     I don't know.
22       Q.     More than five?
23       A.     No.
24       Q.     Less than five?
25       A.     Yes.


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                                                                        Page 194
 1        Q.    Have any of them been from
 2   religiously-affiliated shelters that have an
 3   objection to providing access to abortion?
 4        A.    I don't know, but I don't think so.
 5        Q.    Since your deposition, have there been
 6   any transfers from religiously-affiliated shelters
 7   to a nonreligiously-affiliated shelter because of
 8   an abortion request?
 9        A.    I don't think so.
10        Q.    How about for a contraception request?
11        A.    I don't think so.
12        Q.    Since your deposition, have there been
13   placement decisions that ORR has made based on the
14   fact that a minor is seeking an abortion?
15        A.    No.
16        Q.    There have been no decisions that take
17   into account whether a particular shelter has a
18   religious objection to providing abortion before
19   placing a minor who is seeking an abortion with a
20   shelter since your deposition?
21        A.    I don't think so.
22        Q.    Since your deposition, have you spoken
23   with Maggie Wynne about abortion?
24        A.    Yes.
25        Q.    On how many occasions?


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                                                                        Page 195
 1        A.    There were several.        I work with her
 2   regularly.
 3        Q.    Were they about abortion policies or
 4   specific abortion requests?
 5        A.    Both.
 6              MR. TOMLINSON:      I'm going to object and
 7   instruct the witness not to answer to the extent
 8   this line of questioning calls for internal
 9   deliberations about policy.
10   BY MS. AMIRI:
11        Q.    Just to clarify, with Mr. Tomlinson's
12   objection, I'm not yet asking about the nature of
13   the conversations.      But just to clarify, you have
14   spoken with Ms. Wynne about both abortion policy
15   and about specific abortion requests of minors?
16        A.    Yes.
17        Q.    I think I asked you this at the top of
18   your deposition, but since your deposition on
19   December 18, has ORR made any final policy
20   pronouncements about abortion since your
21   deposition?
22        A.    No.
23        Q.    Since your deposition, have you spoken
24   with Steven Wagner about abortion policies?
25              MR. TOMLINSON:      Same objection and


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                                                                        Page 196
 1   instruction.
 2              THE WITNESS:      Yes.
 3   BY MS. AMIRI:
 4        Q.    About abortion policies?
 5        A.    Yes.
 6        Q.    And have you spoken with Steven Wagner
 7   about any specific abortion requests for minors?
 8        A.    Yes.
 9        Q.    Same line of questioning for the HHS
10   secretary that's new, Alex Azer, have you had
11   conversations with him about abortion policies
12   since your deposition on December 18?
13              MR. TOMLINSON:      With the same objection
14   and instruction.
15              THE WITNESS:      No.
16   BY MS. AMIRI:
17        Q.    Have you had any conversation with Alex
18   Azer about abortion requests from individual
19   minors since your deposition?
20        A.    No.
21        Q.    Since your deposition on December 18,
22   have you spoken to any minors who are pregnant?
23        A.    No.
24        Q.    Since your deposition in --
25        A.    I don't think so.        It's possible that


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                                                                        Page 197
 1   they were pregnant and I didn't know it.
 2          Q.   So to your knowledge, at the time that
 3   you were speaking with a minor, you were unaware
 4   of whether the minor was pregnant or not?
 5          A.   Right.    No.
 6          Q.   Did you speak to any minor who was
 7   seeking abortion --
 8          A.   No.
 9          Q.   -- since your deposition?        Since your
10   deposition, have you discussed religion with
11   minors?
12          A.   No.    Wait.    In our care?
13          Q.   Yes.
14          A.   In our care.
15          Q.   This all in your personal -- in your
16   official capacity, not in your personal capacity,
17   yes.
18          A.   Okay.
19          Q.   Have you discussed any -- have you
20   prayed with any minors in ORR care?
21          A.   No.
22          Q.   Have there been any contract or
23   cooperative agreement negotiations with shelters
24   since your deposition in December that involve
25   terms relating to reproductive health access?


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                                                                        Page 198
 1        A.     I think so.
 2        Q.     What were the cooperative agreements
 3   that were negotiated or discussed with shelters
 4   that included some aspect of reproductive health?
 5        A.     I don't recall the exact party.
 6        Q.     One party or more than one party?
 7        A.     One party.
 8        Q.     Was it a shelter that had a religious
 9   objection to providing access to contraception or
10   abortion?
11        A.     I think that's the case.
12        Q.     If you don't remember the party, who
13   would?
14        A.     It's possible that Jonathan White would
15   or Jallyn Sualog.
16        Q.     Do you remember the term relating to
17   abortion or contraception that was being discussed
18   in the cooperative agreement with the shelter that
19   had an objection?
20        A.     Vaguely.
21        Q.     And what is your recollection?
22        A.     They were seeking an exception to
23   providing certain reproductive services.
24        Q.     And does that include both abortion and
25   contraception?


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                                                                        Page 199
 1        A.    I don't recall.
 2        Q.    Did ORR make a decision about whether to
 3   grant that religiously-affiliated shelter an
 4   exception to providing access to reproductive
 5   healthcare?
 6        A.    Yes.
 7        Q.    Was that decision memorialized in an
 8   agreement with the shelter?
 9        A.    My belief is that it was.         It's possible
10   that it went on to an additional round of review
11   after that.
12        Q.    Do you sign cooperative agreements or
13   contracts with shelters in general?
14        A.    Yes.
15        Q.    Did you sign this particular contract or
16   cooperative agreement with a shelter?
17        A.    I think so.
18        Q.    And the general term of the agreement
19   was that the shelter does not have to provide
20   access to abortion and contraception?           Was that
21   the final decision?
22        A.    Something along those lines.          I don't
23   remember if it was both abortion and contraception
24   or one or the other.
25        Q.    Was there a discussion in the


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                                                                        Page 200
 1   negotiations with the shelter about what would
 2   happen if a minor in their care sought
 3   reproductive healthcare that they were unwilling
 4   to provide access to?
 5        A.      My recollection is that the minor would
 6   be transferred according to the agreement.
 7        Q.      So according to the agreement, the minor
 8   would be transferred to a shelter that did not
 9   have a religious objection to providing access to
10   that care?
11        A.    I believe so.
12        Q.    And is it your understanding that --
13   strike that.
14        Do you know what region of the country the
15   shelter was located in?
16        A.    No.
17        Q.    Do you know whether that shelter was
18   part of the U.S. Conference of Catholic Bishops'
19   list of subgrantees?
20        A.    That would be my guess.
21        Q.    Was it a Catholic Charities?
22        A.    I don't recall.
23        Q.    Other than the cooperative agreement we
24   just discussed, have there been any other
25   discussions with shelters that have a religious


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                                                                        Page 201
 1   objection to providing access to abortion or
 2   contraception since your deposition?
 3        A.      No.
 4        Q.      Are there shelters still operating
 5   without a signed cooperative agreement, generally
 6   speaking?
 7        A.      No, I don't think so.
 8                MS. AMIRI:   We're going to mark our
 9   first Exhibit 22.      We're just going to continue
10   with where we left off the last time.
11               (Lloyd Exhibit 22 was marked.)
12   BY MS. AMIRI:
13        Q.     Do you recognize this document that's
14   been marked as Exhibit 22?
15        A.     Yes.
16        Q.     And what is it?
17        A.     It's the errata sheet from my last
18   deposition, from the transcript of my last
19   deposition.
20        Q.     Is this your handwriting in the Page,
21   Line and Correction and Reason columns?
22        A.     No.
23        Q.     I don't want to ask a question that's
24   going to require revelation of attorney/client
25   privilege.    But this represents the corrections


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                                                                        Page 202
 1   that you wanted to make?
 2           A.   Yes.
 3           Q.   I just wanted some clarity on the two
 4   corrections that you made, one on page 35 and one
 5   on page 56.     I'm happy to hand to you your
 6   deposition.     But on page 35, line 18, there was a
 7   substantive change that you had requested made.
 8           And the question preceding on page 35, line
 9   15 of your deposition, I had asked:          "Do you have
10   any involvement as the director of ORR in making
11   determinations about whether an unaccompanied
12   minor can have access to contraception?"
13        The answer at your deposition on line 19 was:
14   "No."
15        And in your errata you said that you wanted
16   to replace "No" with, quote, "No, not generally,
17   unless that might be a specific question."
18        I didn't really understand the correction.              I
19   wanted to ask you what you meant by your
20   correction in your errata.
21        A.      It's not a question that typically comes
22   to my attention in the operation of our shelters.
23        Q.      So unless, you say -- you added though
24   that there might be a specific question about
25   contraception.


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                                                                        Page 203
 1        A.     Sure.
 2        Q.     So are there situations that you have
 3   had the occasion of considering a question from a
 4   shelter about access to contraception in your time
 5   at ORR?
 6        A.     Yes.
 7        Q.     And what was that?
 8        A.     They wanted to know whether they ought
 9   to be filling a contraception prescription.
10        Q.     The shelter did?
11        A.     Um-hum.
12        Q.     Can you just say "Yes" or "No" for the
13   reporter.
14        A.     Sure.    So the question I guess was --
15   can you repeat the question?         I'm sorry.
16        Q.     Yes.    I was just clarifying that it was
17   the shelter who was asking the question about
18   whether they were supposed to fill a prescription
19   for contraception.
20        A.     Yes.
21        Q.     And what was your response to them?
22        A.     They should follow the recommendation of
23   their medical director essentially.
24        Q.     Have you ever instructed a shelter to
25   refrain from filling a contraception prescription?


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                                                                           Page 204
 1           A.    No.
 2           Q.    Why did that specific request come to
 3   you?
 4           A.    I don't know.
 5           Q.    Normally do contraception prescription
 6   questions come to you before a shelter acts on
 7   whether they can fill a particular contraception
 8   prescription?
 9           A.    No.
10           Q.    So this was out of the ordinary, but you
11   don't know why?
12           A.    Right.
13           Q.    Was the request from a
14   religiously-affiliated shelter that had an
15   objection to contraception?
16           A.    I don't think they were religiously
17   affiliated, no.
18           Q.    The next correction is on page 46, line
19   2.     And I just wanted to ask for some clarity as
20   well.     Starting on page 45, line 24, I asked:
21   "Has there ever been a minor's request for
22   contraception that has reached your level, a
23   request for contraception?"
24           And on line 2 of page 46, you said:            "No."
25           And then on your errata, you wanted to


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                                                                        Page 205
 1   replace "No" with "No, not in a way where I
 2   approved or disapproved a specific request."
 3        So I wanted clarity as to what you meant by
 4   that change.
 5        A.    Where I was the final decision-maker on
 6   a request for contraception, the answer is no.
 7        Q.    So the correction is that a minor's
 8   request for contraception may have reached your
 9   level, but you were not the ultimate
10   decision-maker about whether to approve or
11   disapprove that request?
12        A.    That's correct.
13        Q.    You had started answering some of my
14   earlier questions about directions or instructions
15   that you had given to shelters about specific
16   abortion requests for individuals, and there are
17   some documents that were produced after your
18   deposition that I'd like to start to discuss with
19   you to see if some of those shelters are some of
20   the ones that you either spoke with directly or
21   provided instructions through your staff.
22              MS. AMIRI:     Let's do 23.
23              (Lloyd Exhibit 23 was marked.)
24              (Witness reviewed the exhibit.)
25


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                                                                        Page 206
 1   BY MS. AMIRI:
 2        Q.    Sir, I've handed to you what I've marked
 3   as Exhibit 23.     I will also represent on the
 4   record that the documents that I'll be handing you
 5   that have been produced by the government haven't
 6   been fully redacted pursuant to our agreement or
 7   the confidentiality order.
 8              MS. AMIRI:     So that's something I want
 9   some clarity on before -- or once we go off the
10   record at some point, one of my housekeeping
11   things I wanted to talk to you about.
12   BY MS. AMIRI:
13        Q.    But just so you know, these are not in a
14   version -- these are in a version that's protected
15   by the confidentiality order and have not been
16   further redacted.
17        With this particular shelter where this minor
18   had requested an abortion, did you speak directly
19   to the shelter about this abortion request?
20        A.    I don't think so.
21        Q.    Did you provide any instructions to
22   staff to give to the shelter -- and we'll get to
23   some other emails -- that weren't captured in
24   emails in general?
25        A.    Yes.


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                                                                        Page 207
 1        Q.     What were those instructions?
 2        A.     Instructions to the?
 3        Q.     Instructions that -- I'll repeat the
 4   question.    Did you give any instructions to staff
 5   to give to the shelter that were verbal only and
 6   were not captured in emails?
 7        A.     My recollection is that most of our
 8   instructions in this case were memorialized in
 9   email.
10        Q.     For this particular minor, did you
11   instruct the federal field specialist or any other
12   ORR staff member to read a description of an
13   abortion procedure to her?
14        A.     Yes.
15        Q.     Did that happen?
16        A.     I believe so.
17        Q.     Why would you require that?
18        A.     For informed consent.
19        Q.     Is it part of ORR's job to provide
20   medical informed consent to minors?
21        A.     Informed consent, yes.
22        Q.     It is ORR's job to provide medical
23   informed consent to minors?
24        A.     It's appropriate.
25        Q.     In what circumstances is it appropriate?


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                                                                        Page 208
 1        A.      Well, in a case where, for example,
 2   they're having a medical procedure done on them.
 3        Q.      In all instances in which unaccompanied
 4   minors undergo medical procedures while they're in
 5   ORR custody, does ORR provide medical informed
 6   consent to those minors?
 7        A.      They ensure that it's given.
 8        Q.      Given by whom?
 9        A.      Providers.
10        Q.    What kind of providers?
11        A.    The providers who are giving the
12   procedure.
13        Q.    The medical providers?
14        A.    Um-hum.
15        Q.    Are there other circumstances outside of
16   the abortion context where you have instructed
17   your staff to provide medical informed consent to
18   a minor undergoing a medical procedure?
19        A.    Not that I recall.
20        Q.    Have you ever instructed that a minor
21   who was delivering a baby either vaginally or via
22   C-section be provided with a description of the
23   experience they were about to undergo?
24        A.    No.
25        Q.    Did you also instruct that this minor be


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                                                                        Page 209
 1   offered a publication by the State of Texas about
 2   abortion?
 3        A.     Something along those lines, yeah.
 4        Q.     Is this the first minor that you have
 5   made such an instruction for?
 6        A.     I don't recall, but I don't think so.
 7        Q.     This minor wasn't in Texas, was she?
 8        A.     No.
 9        Q.     Why then would she be asked to read a
10   publication from the State of Texas?
11        A.     We found it to be a good resource.
12        Q.     Who is "we"?
13        A.     People in the department.
14        Q.     Who would that include?
15        A.     Me and legal counsel and Maggie Wynne,
16   Steve Wagner, decision-makers.
17        Q.     I'm not asking about any conversations
18   that you had with counsel, but any conversations
19   that you have had outside the presence of counsel
20   about the use of the Texas book to be provided to
21   minors.
22               MR. TOMLINSON:     I'm going to object and
23   instruct him not to answer the question about the
24   substance of those conversations on the basis of
25   deliberative process.


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                                                                        Page 210
 1               MS. AMIRI:    About whether to use a --
 2   whether to give a booklet to people, you think
 3   that's deliberative process?
 4               MR. TOMLINSON:     Yes.    If we're saying
 5   that the agency's practice is to give booklets to
 6   minors, I think that is a decision about policy or
 7   practice potentially.
 8               THE WITNESS:     Can you repeat the
 9   question?
10   BY MS. AMIRI:
11        Q.     Did you have conversations with people
12   in your department or above you outside the
13   presence of counsel about whether to provide to
14   unaccompanied minors a book published by Texas
15   about abortion?
16        A.     I don't think so.
17        Q.     They were all within the presence of
18   counsel?
19        A.     I think so.
20        Q.     Did you require this particular minor
21   that is discussed in Exhibit 23 to read the
22   pamphlet that the State of Texas publishes?
23        A.     I don't think so.
24        Q.     For this particular minor, you also
25   asked a series of questions to be posed to the


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                                                                        Page 211
 1   provider; is that right?
 2           A.   Yes.
 3           Q.   About the nature of the abortion
 4   procedure?
 5           A.   Yes.
 6           Q.   Why did you ask those questions?
 7           A.   Because I wanted to know the answers to
 8   those questions.
 9           Q.   Why?
10        A.      We were responsible for the kids in our
11   care.    I wanted to know what was happening to this
12   particular one.
13        Q.      Why this particular one as opposed to
14   any other?
15        A.      Because she's undergoing a major
16   procedure where a human life was being destroyed.
17   I wanted to know the details of that.
18        Q.      Do you think that abortion is less safe
19   than childbirth?
20        A.      I would defer to whatever the science
21   says on that.
22        Q.      Do you happen to know yourself whether
23   childbirth is safer than abortion?
24        A.      It depends on what kind of childbirth
25   and what kind of abortion.        I don't have


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                                                                        Page 212
 1   statistics committed to memory.
 2        Q.     So this particular minor was -- had your
 3   attention about the type of procedure that she was
 4   going to undergo because in your mind, it was a
 5   procedure that would involve the destruction of
 6   human life?
 7        A.     Well, it's not just in my mind.          That's
 8   objective.
 9        Q.     That's objective?
10        A.     Um-hum.
11        Q.     You believe everyone regardless of their
12   belief systems believes that abortion is the
13   destruction of human life?
14        A.     I think the objective facts are that it
15   involves the destruction of a human life.            How
16   people internalize every element is a different
17   question.
18        Q.     Is your belief that the abortion is the
19   destruction of human life informed by your
20   religion faith?
21        A.     It's informed by the reality of the
22   situation and the scientific facts.
23        Q.     You also believe that abortion is a sin?
24        A.     What does that have to do with anything?
25        Q.     It has to do with a lot.        This case is


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 1   about -- involves an Establishment Clause
 2   violation.     Your religious imposition is directly
 3   relevant to the case.       So I get to ask the
 4   questions.     Mr. Tomlinson can object.
 5        So my question is:       Do you believe abortion
 6   is a sin?
 7        A.     Yes.
 8               MR. TOMLINSON:     I'm going to object to
 9   this line of questioning going any further because
10   he's testified in the past that he does not let
11   religion guide his job as ORR director.           We're
12   getting pretty far afield into personal religious
13   beliefs.
14               MS. AMIRI:    You can certainly ask him on
15   redirect any questions that you want.           I don't see
16   that there's a basis for an instruction not to
17   answer.    The political individuals who are
18   involved in enforcing the policy and their
19   personal religious belief and whether that is
20   imposed on the minors in their care is directly
21   relevant to this case, and there's no basis for
22   instructing him not to answer.         If you want to
23   clarify on your redirect, that is certainly your
24   prerogative.
25               MR. TOMLINSON:     Let me clarify.       I did


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                                                                        Page 214
 1   not instruct him not to answer.         I just wanted to
 2   put this objection on the record as to this
 3   questioning.
 4                MS. AMIRI:    Fair enough.
 5   BY MS. AMIRI:
 6           Q.   I believe you answered the question.
 7   You think abortion is a sin.         Yes?
 8           A.   I answered the question.
 9                (Lloyd Exhibit 24 was marked.)
10   BY MS. AMIRI:
11        Q.      I'm going to hand you what has been
12   marked as Exhibit 24, if you'd like to take a
13   look.
14                (Witness reviewed the exhibit.)
15   BY MS. AMIRI:
16        Q.      Do you recognize what has been marked as
17   Exhibit 24?
18        A.      Most of it.
19        Q.      Which parts do you not recognize?
20        A.      The cover -- the cover email I hadn't
21   seen before.
22        Q.      Just by background for this particular
23   minor that we've been discussing, Jonathan White
24   made a recommendation to you that this particular
25   minor be allowed to have access to abortion; is


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                                                                        Page 215
 1   that correct?
 2          A.   Yes.
 3          Q.   This minor had been raped; correct?
 4          A.   Well, she claimed to have been raped,
 5   yes.
 6          Q.   Do you have any reason to disbelieve
 7   her?
 8          A.   No.
 9          Q.   This minor had thoughts of self harm?
10          A.   She expressed something along those
11   lines, yes.
12          Q.   And Mr. White sent you a decision memo
13   about whether to approve or deny the abortion
14   access and funding; is that right?
15          A.   Yes.
16          Q.   Has Mr. White sent you a decisional memo
17   like this for any other abortion?
18          A.   I don't think so.
19          Q.   If you flip to Bates-stamp 15607, in the
20   middle paragraph, about halfway in the middle
21   paragraph, you reference an information session
22   that imparted information about fetal development
23   and the abortion procedure she requests.
24          A.   Can you repeat that last part?
25          Q.   Yes.   I just wanted to draw your


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 1   attention to the middle paragraph.          About halfway
 2   through that middle paragraph, the sentence says,
 3   "She has had an information session that imparted
 4   information about fetal development and the
 5   abortion procedure she requests."
 6        A.      Yes.
 7        Q.      What information session are you
 8   referring to there?
 9        A.      She met with her clinician and our -- a
10   child welfare specialist from our program to go
11   through information regarding her request for
12   termination.    I believe the medical director from
13   the program was there, too.
14        Q.     So there were three individuals that
15   were at the informational session?
16        A.     At least three and a translator.
17        Q.     When you mentioned her provider, is that
18   an ob-gyn?
19        A.     I believe it was the medical -- the
20   medical staff from the program as opposed to the
21   provider.
22        Q.     Was there a clinician, a medical
23   provider who was not associated with the shelter
24   at the informational session?
25        A.     I don't know, but I don't think so.


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                                                                        Page 217
 1        Q.     Did you provide any instructions for
 2   this particular minor that she visit a crisis
 3   pregnancy center?
 4        A.     I don't recall, but I actually don't
 5   think that happened in this case.
 6        Q.     So even if you provided the instruction,
 7   you don't think that she went to a crisis
 8   pregnancy center?
 9        A.     That would be my recollection, but it's
10   possible that my recollection is off.
11        Q.     Did you instruct that this particular
12   minor go to any particular ob-gyn for the
13   provision of care?
14        A.     No.
15        Q.     On Price production 15609, you say in
16   the last paragraph, "Although formal research on
17   this matter appears to be sparse...," that
18   sentence.
19        A.     Um-hum.
20        Q.     I believe you're talking about trauma
21   from abortion; is that correct?
22        A.     Yes.
23        Q.     Have you done a literature review of the
24   science literature about whether abortion causes
25   trauma?


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                                                                        Page 218
 1           A.   Me personally?
 2           Q.   Yes.
 3           A.   No.
 4           Q.   Have you read any summaries about the
 5   scientific literature about whether abortion
 6   causes trauma?
 7           A.   Yes.
 8           Q.   And what were those summaries that you
 9   read?
10        A.      Compilations, various compilations of
11   scientific literature on the harms of abortion.
12        Q.      And who provided that to you?
13        A.      I believe the staff -- well, I mean,
14   over the years, many different places.           Usually
15   you find this stuff on the internet.           It may have
16   been part of my own research on this or that
17   project.     But in the context of this -- in these
18   responsibilities, ACF staff provided me some
19   literature, and we were also working with ASPE,
20   the assistant secretary for planning and
21   evaluation, regarding related topics.           But I don't
22   think it goes directly to abortion trauma.
23        Q.      Who is the ASPE director?
24        A.      It was just -- who is ASPE director?
25   John.    I don't know his last name.


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                                                                        Page 219
 1        Q.    So just to back up, did any of your
 2   staff give you medical or scientific literature
 3   about abortion trauma that you considered in the
 4   context of this particular memo?
 5        A.    No.
 6        Q.    Do you know what the American
 7   Psychological Association says about whether
 8   abortion causes trauma?
 9        A.    I don't have that committed to memory.
10        Q.    What did the scientific literature that
11   you were provided say about whether abortion
12   causes trauma?
13        A.    If I recall, there's some studies that
14   have found an increased likelihood of self harm,
15   suicide, that sort of thing.
16        Q.    Were those studies conducted by a man
17   named Vincent Rue?
18        A.    I don't know.
19        Q.    Priscilla Coleman?
20        A.    I don't know.
21        Q.    Did you ever speak to the minor who is
22   at issue in this memo?
23        A.    No.
24        Q.    The next page, 15610, in the fourth
25   paragraph, second sentence, you say, "How could


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 1   abortion be in their best interest where other
 2   options are available..."
 3        Is it your position that abortion is never in
 4   the best interest of a minor because there are
 5   other options for the pregnancy available to the
 6   minor?
 7        A.     Where are we?
 8        Q.     Fourth paragraph on 15610, second
 9   sentence.
10        A.     Okay.
11        Q.     Is it your position that abortion is
12   never in the best interest of a minor because
13   there are other options available to a minor?
14        A.     In this -- it's a case-by-case
15   determination for each minor in our care.
16        Q.     But do you believe that abortion would
17   never be in the best interest of a minor where the
18   minor has other options for the pregnancy?
19               MR. TOMLINSON:     Objection.      Calls for
20   speculation.
21   BY MS. AMIRI:
22        Q.     You can answer.
23        A.     It's a case-by-case determination.
24        Q.     So what did you mean here when you said,
25   "How could abortion be in their best


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 1   interest...where other options are available..."?
 2        A.     I should have said her best interest,
 3   and that would have clarified, I think.
 4        Q.     You ultimately made the determination
 5   not to allow this particular minor access to the
 6   abortion; correct?
 7        A.     Yes.
 8        Q.     Does that mean it was not in her best
 9   interest?
10        A.     If I could clarify, I made the
11   determination that the program would not assist
12   her in obtaining an abortion.
13        Q.     Now I'm confused because I believe that
14   you have said in this memo, "At bottom, this is a
15   question of what is in the interest of the young
16   woman..."
17        A.     Um-hum.
18        Q.     So if you're charged with acting in the
19   best interest of a minor, how does what the
20   program wants to do relate to what is in the best
21   interest of a particular minor?
22        A.     Our determination about the best
23   interest of a minor is going to determine how we
24   expend our resources in pursuit of that best
25   interest.


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                                                                        Page 222
 1          Q.   So you believe as part of the best
 2   interest determination of a minor, that that
 3   includes an assessment of ORR resources?
 4               MR. TOMLINSON:     Objection.      I think that
 5   mischaracterizes what he said.
 6               MS. AMIRI:    That's why I'm trying to get
 7   clarification here.
 8               THE WITNESS:     No.   The best -- once we
 9   determine what's in the best interest of a child
10   in a certain situation, then we determine how our
11   program is going to pursue those best interests.
12   BY MS. AMIRI:
13          Q.   But for this particular minor, you made
14   the determination that the abortion was not in her
15   best interest.
16          A.   Yes.
17          Q.   She was asking for the abortion; right?
18          A.   That's the way it was reported to us,
19   yes.
20          Q.   So in this decision memo, you have
21   supplanted your decision for hers based on your
22   determination that the abortion is not in her best
23   interest?
24          A.   No.
25          Q.   So please correct me and explain why


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                                                                        Page 223
 1   that's wrong.
 2           A.   Whatever she feels about what's in her
 3   best interest is one matter, and then what we do
 4   as a program serving her is a different matter.
 5           Q.   How then do you reconcile your
 6   determination about what is in her best interest
 7   with what you just said in terms of the program?
 8   I don't quite understand.
 9           A.   We are charged with acting in the best
10   interest of the children in our care.
11        Q.      Yes.
12        A.      And that's what we did in this case.
13        Q.      So you think that denying her access to
14   abortion was in her best interest?
15        A.      In this case, it was.
16        Q.      Why?
17        A.      For the reasons that I laid out in the
18   memo.
19        Q.      If that is true, how would -- strike
20   that.
21        You're never going to approve an abortion
22   request; right?
23                MR. TOMLINSON:    Objection.      Speculative.
24   BY MS. AMIRI:
25        Q.      You can answer the question.


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 1        A.     I'm sorry?
 2        Q.     You can answer the question.         That's an
 3   objection.    That's not an answer.
 4        A.     I'm going to look at each case and make
 5   a determination on a case-by-case basis.
 6        Q.     As the ORR director, you have to
 7   personally approve any abortion request, correct,
 8   putting aside medical emergencies?
 9        A.     Yeah.   We determine whether the program
10   is going to assist in that, yes.
11        Q.     And it would require your explicit
12   approval for a minor to have an abortion outside
13   of the emergency medical context?
14        A.     Yes.
15        Q.     If you believe that an abortion is a sin
16   and you approved an abortion, wouldn't you be
17   complicit in sin?
18               MR. TOMLINSON:     Object to the form.        I
19   object to the form of that question.
20               THE WITNESS:     Potentially.
21   BY MS. AMIRI:
22        Q.     What is the potential?        What's potential
23   about it?
24        A.     I mean, we're speculating.         That, too,
25   is a case-by-case determination according to my


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                                                                        Page 225
 1   understanding.
 2          Q.     If you have to sign on a line approving
 3   an abortion request, wouldn't you be complicit in
 4   sin?
 5                 MR. TOMLINSON:     I'm going to renew the
 6   objection.      We're talking about his religious
 7   beliefs, not his -- how he does his official
 8   duties here.
 9   BY MS. AMIRI:
10          Q.     You can answer the question.
11          A.     Can you restate the question?
12          Q.     Yes.   Mr. Tomlinson's objection will
13   stand.      If you were to approve an abortion
14   request, wouldn't you be complicit in sin?
15          A.     I could be.   It depends.     It's a
16   case-by-case determination.
17          Q.     Depends on what?
18          A.     A number of factors.
19          Q.     So it depends on the factors that are
20   involved in the minor seeking the abortion?
21          A.     It depends on all the factors and
22   including what you just said, according to my
23   understanding.       But I'm not here as an expert on
24   my faith.      I'm here as the director of the Office
25   of Refugee Reassignment.


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                                                                        Page 226
 1        Q.     I understand.     I'm trying to understand
 2   what the policy really is here with respect to
 3   abortion requests.
 4        A.     Okay.   Then let's talk about the policy.
 5        Q.     I'm trying to understand whether there
 6   is any abortion request that you are ever going to
 7   approve.
 8        A.     The answer is I don't know.
 9        Q.     You don't know?
10        A.     It's a case-by-case determination.
11        Q.     I will get a speculative objection.           We
12   can just put that on the record right now.
13        Let's say there's a minor who's pregnant as a
14   result of rape.     She's eight weeks pregnant.
15   She's requested an abortion.         She has threatened
16   self harm if she's not allowed to have the
17   abortion.    She's voluntarily told her parents and
18   her sponsor, all of whom are supportive of her
19   abortion decision and would like her to have the
20   abortion.    She has obtained a judicial bypass.
21        Would you in that case still deny the
22   request?
23        A.     I don't know.
24        Q.     What do you mean you don't know?
25        A.     I don't know.


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                                                                        Page 227
 1        Q.     You don't know if you would?
 2        A.     Right.
 3        Q.     What facts would you need that I have
 4   not laid out that would help you with your
 5   decision?
 6        A.     It would have to be a real case.
 7               MR. TOMLINSON:     Object to form.
 8   BY MS. AMIRI:
 9        Q.     It would have to be a real case?
10        A.     Yeah.
11        Q.     Why?
12        A.     Because I'm not going to engage in a
13   speculation session.
14        Q.     Well, hypothetical questions are
15   perfectly acceptable to ask at depositions.             I
16   understand there's a speculation objection that's
17   put on the record.      That's fine.      I'm trying to
18   understand if there are any constellation of facts
19   that would be presented to you --
20        A.     And the answer, which I've answered, is
21   I don't know.
22        Q.     Are all the facts that you considered in
23   making a determination about what's in the minor's
24   best interest related to the minor's specific
25   circumstances, or are there other facts that you


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                                                                        Page 228
 1   consider in making a decision?
 2        A.     There are other facts --
 3        Q.     Like what?
 4        A.     -- for consideration.       I think we went
 5   through this in some detail in my last deposition.
 6   I don't think my answer has changed.
 7        Q.     Was this minor that we're talking about
 8   in this memo required to tell her parents about
 9   her abortion decision?
10        A.     I don't recall.
11        Q.     Why did you --
12        A.     Yeah, I think she did tell her parents.
13   I don't remember if she was required to or not.
14        Q.     In the past there have been minors that
15   you have instructed that they tell their parents
16   or the shelter will tell their parents; correct?
17        A.     Um-hum.
18        Q.     Can you say "Yes" for the court
19   reporter.
20        A.     Yes.
21        Q.     You don't know whether that particular
22   instruction happened for this particular minor?
23        A.     I don't recall if she already had the
24   conversation or if we directed the program to
25   arrange the parental notification.


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                                                                        Page 229
 1        Q.    You've made many instructions with
 2   respect to this particular minor including that
 3   she receive a description of the medical
 4   procedure, that she have the informational
 5   session.   Nevertheless, you denied her request for
 6   an abortion.
 7        And my question to you is:         Why would you
 8   make her go through all of what you made her go
 9   through simply to then just deny her abortion
10   request?
11        A.    Without informed consent, then there
12   isn't really a rape request in my mind.
13        Q.    But you didn't deny her abortion request
14   because you felt like she was uninformed about the
15   abortion, did you?
16        A.    If she was uninformed about the
17   abortion, then she never would have made the
18   request.
19        Q.    But she had made the request before you
20   had required her to hear a description of the
21   abortion procedure and offer her the Texas
22   pamphlet; correct?
23        A.    It wasn't clear -- yes.
24        Q.    So she had already made that request.
25   And in fact, the only time that she rescinded her


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 1   request is when her parent and her sponsor
 2   threatened to beat her if she had the abortion;
 3   right?
 4        A.    That's correct.
 5        Q.    So my question is:        Why subject her to
 6   the things that you subjected her to only to deny
 7   her abortion request?
 8              MR. TOMLINSON:      Object to the form.
 9              THE WITNESS:      We were sharing
10   information about the procedure that she was
11   requesting so that we knew that she knew what she
12   was asking for.
13   BY MS. AMIRI:
14        Q.    But that didn't factor into your
15   decision about whether to deny her request?
16        A.    Yes, it did.
17        Q.    How so?
18        A.    Because without it being clear that she
19   knew what she was asking for, it wouldn't be clear
20   that she was actually making a request for what
21   she was -- she seemed to be requesting.
22        Q.    Do you think that minors outside the
23   abortion context know what they're asking for when
24   they ask for a particular medical procedure even
25   without having been read a description of the


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                                                                        Page 231
 1   medical procedure?
 2              MR. TOMLINSON:      Object to the form.
 3              THE WITNESS:      That's going to depend on
 4   the circumstances.
 5   BY MS. AMIRI:
 6        Q.    So going back to the issue carried to
 7   term, a minor who is perhaps making a decision
 8   about whether to have a vaginal delivery or
 9   C-section, ORR, I believe you said, had never
10   required a particular minor to read a description
11   about a C-section; right?
12        A.    I don't believe -- no, we haven't -- I
13   don't know.    I don't know.
14        Q.    You have never instructed that?
15        A.    Right.
16              (Lloyd Exhibit 25 was marked.)
17   BY MS. AMIRI:
18        Q.    I hand you what has been marked as
19   Exhibit 25.
20              (Witness reviewed the exhibit.)
21   BY MS. AMIRI:
22        Q.    Just to clarify, what's on page 15452 is
23   the description of the abortion procedure that you
24   required be read.      It's from the Supreme Court
25   decision Gonzales versus Carhart.


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 1           A.    Yes.
 2           Q.    Have you ever required that a minor be
 3   read a description of any medical procedure from
 4   any court case outside the context of abortion?
 5           A.    No.
 6           Q.    Do you know whether anyone on your staff
 7   has the training to provide options counseling
 8   about abortion?
 9           A.    I don't know.
10                 (Lloyd Exhibit 26 was marked.)
11   BY MS. AMIRI:
12           Q.    On that first page I wanted to ask you
13   about what is in No. 2 of the email from Jonathan
14   White to you.        There's a sentence that starts,
15   "            has indicated that the DHUC staff are not
16   able to participate..."
17           A.    Okay.
18           Q.    What does DHUC stand for?
19           A.    Division of Health for Unaccompanied
20   Children.
21           Q.    And            referred to in this sentence
22   is                           ?
23           A.    Yes.
24           Q.    So just reflecting on this email, back
25   to my question about whether you had anyone on


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 1   your staff who had the clinical training and
 2   expertise to provide options counseling, isn't
 3   Jonathan White indicating to you that the DHUC
 4   staff do not have that competency?
 5          A.     Well, Jonathan is characterizing a
 6   conversation he had with                who represented
 7   that DHUC staff doesn't have that.
 8          Q.     Do you have any reason to believe that
 9   that is incorrect?
10          A.     I don't have -- I don't know.       If I had
11   to think about it, I'd probably have a discussion
12   with                to see if we were talking about the
13   same thing.
14          Q.     What is your concern about whether you
15   might be talking about something different?
16          A.     I don't know.     What he meant by options
17   counseling outside their clinical training, I
18   mean, the DHUC staff are not clinicians.            I
19   suppose that's what he was talking about.
20          Q.     Do you think that that is an incorrect
21   assessment then that Jonathan was reporting that
22               said?
23          A.     Well -- so it's speaking to the clinical
24   training.      I didn't second guess their
25   characterization.


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 1          Q.   Have you dispatched anyone from your
 2   staff to provide options counseling to a minor who
 3   is seeking an abortion?
 4          A.   No.
 5          Q.   As the term options counseling is used
 6   in this exhibit, what do you think Jonathan is
 7   referring to?     How do you think he defines options
 8   counseling?
 9               MR. TOMLINSON:        Objection.   Calls for
10   speculation.
11               THE WITNESS:        It's providing options
12   about pregnancy, information about options.
13   BY MS. AMIRI:
14          Q.   And what would those options include?
15          A.   Well, we discussed this in the last
16   deposition.    Termination, adoption and childbirth.
17          Q.   It does look like this email refers to
18   and some other emails involving                 .   I
19   probably pronounced that wrong.
20          A.   That's right.
21          Q.                   .                    , who is
22   she?
23          A.   She's our child welfare specialist on
24   staff.
25          Q.   Is she based here in D.C.?


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 1        A.      Yeah.
 2        Q.      And did you instruct                        to
 3   go visit this particular minor?
 4        A.      Yes.
 5        Q.      And why did you do so?
 6        A.      To make sure that she -- well, it's in
 7   the email.     But to make sure that she's aware of
 8   her options and that she has informed consent
 9   about the procedure.
10        Q.    So to your knowledge,                 is the one
11   who read to this minor the description of the
12   abortion procedure from Gonzales versus Carhart?
13        A.    I don't think that's correct.
14        Q.    So who from your staff read that portion
15   of that --
16        A.    I believe it was the minor's clinician,
17   the program staff, shelter staff.
18        Q.    The shelter staff.                  does, in
19   fact, report to you, correct, about the meeting?
20        A.    Yes.
21        Q.    We have it somewhere.
22              (Lloyd Exhibit 27 was marked.)
23   BY MS. AMIRI:
24        Q.    I've handed you what's been marked as
25   Exhibit 27.    Is this an email communication


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 1   between you and                about the visit for the
 2   particular minor?
 3           A.     Yes.
 4           Q.     So there are a number of things that you
 5   had asked               to communicate to her on page
 6   15522?
 7           A.     Yes.
 8           Q.     Do you know if the minor requested
 9   spiritual counseling?
10        A.        I don't know.   I don't think she did.
11        Q.        Do you know if ORR or the shelter
12   required her to attend spiritual counseling even
13   if she did not want it?
14        A.        Do I know?
15        Q.        Yes.   Do you know whether ORR or the
16   shelter staff required her to attend spiritual
17   counseling?
18        A.        I know that nobody required her to do
19   that.
20        Q.        That somebody required -- sorry.       I
21   didn't hear.
22        A.        I know that nobody required her to do
23   that.
24        Q.        So in number three, you had asked
25                to talk to her about the abortion


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 1   procedure, if she knows what a dilation and
 2   extraction abortion is.       But to confirm your
 3   earlier testimony, you did not have                   read
 4   the description of Gonzales to her; correct?
 5        A.    Right.              did not.
 6        Q.    Did            offer an illustration of an
 7   abortion at 23 weeks?
 8        A.    I believe that she did.
 9        Q.    Do you know if the minor decided to view
10   that image?
11        A.    She decided not to.
12        Q.    Do you know what information
13   communicated to her about what was in your No. 4
14   about abortion, she may experience abortion as
15   trauma on top of the trauma from her rape?
16        A.    Well, this was -- well, it's for all
17   three scenarios, parenting, adoption and abortion.
18   I don't recall there being much details about that
19   discussion.
20        Q.    You don't know whether                 said to
21   her if you have an abortion, you may experience
22   that as trauma?
23        A.    I don't know if she said that.
24        Q.    In number five you said that she should
25   know that the program is able to do for her -- I'm


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 1   sorry -- she should know what the program is able
 2   to do for her if she decides to carry her baby to
 3   term or give him or her up for adoption and that
 4   if born in the U.S., the baby would be a U.S.
 5   citizen.
 6         Why did you want               to communicate this
 7   to this particular minor?
 8         A.   So that the minor would know that for
 9   communicating her decision.
10         Q.   Why do you think it was important for
11   her to know her baby, if born in the United
12   States, would be a U.S. citizen?
13         A.   I don't know.      It's just good
14   information to have.
15              (Lloyd Exhibit 28 was marked.)
16   BY MS. AMIRI:
17         Q.   I hand you what's been marked as Exhibit
18   28.   What I've just handed to you marked as
19   Exhibit 28 is            's report back to you; is
20   that correct?
21         A.   Yes.
22         Q.   In the first paragraph, I understand
23   there have been some redactions made to protect
24   the names of individuals, but I'm wondering if
25   anyone was present during the visit from ORR


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 1   staff, including federal field specialists, or
 2   whether those names that have been redacted are
 3   nongovernmental employees.
 4         A.    The federal staff that I know was there
 5   was          .     I don't remember if the federal
 6   field staff was there.
 7               MS. AMIRI:     This might be a good place
 8   for a break.
 9               THE VIDEOGRAPHER:      We are off the record
10   at 11:38.
11               (Recess from 11:38 a.m. to 11:54 a.m.)
12               THE VIDEOGRAPHER:      This is Media Number
13   2 in the video recorded deposition of Scott Lloyd.
14   We're back on the record at 11:54.
15               (Lloyd Exhibit 29 was marked.)
16   BY MS. AMIRI:
17         Q.    I'm going to hand you what's been marked
18   as Exhibit No. 29.
19               (Witness reviewed the exhibit.)
20   BY MS. AMIRI:
21         Q.    In Exhibit 29 now we're talking about a
22   different minor than the one we were talking about
23   before the break; is that right?
24         A.    Yes.
25         Q.    It looks like there's one instruction


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 1   that you gave to the federal field specialist
 2   through Jonathan White on 15592 about
 3   notification of the pregnancy and the termination
 4   request; is that accurate?
 5        A.    Yes.
 6        Q.    Did you give any other instructions with
 7   respect to this particular minor either directly
 8   to the shelter or through your staff?
 9        A.    I don't recall.
10        Q.    Did you speak to the shelter where this
11   minor was living at the time directly?
12        A.    I don't think so.
13        Q.    If you don't recall whether you had any
14   other further instructions, just to see if this
15   refreshes your recollection at all, did you
16   instruct that this particular minor be taken to
17   visit a center on the trusted list of HHS approved
18   in crisis pregnancy centers?
19        A.    It's possible.      I don't recall.
20        Q.    Did you speak personally to this
21   particular minor?
22        A.    No.
23        Q.    Did you instruct that this particular
24   minor read a description of an abortion procedure?
25        A.    No.


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 1        Q.     Did you instruct that this particular
 2   minor receive information about adoption?
 3        A.     That would be one of the -- if we gave
 4   the instruction that she have options counseling,
 5   that would be one of the reasons for the options
 6   counseling.
 7        Q.     Separate and apart from options
 8   counseling, did you direct the shelter staff, for
 9   example, to provide this minor with anything very
10   specific with respect to adoption?
11        A.     That be would the purpose of options
12   counseling, so no.
13        Q.     Who do you anticipate would do that
14   options counseling?
15        A.     The pregnancy center.
16        Q.     Did you instruct this minor to undergo
17   an ultrasound?
18        A.     No.
19        Q.     So other than what's in the email with
20   respect to the direction about notification of the
21   sister, are there any specific instructions that
22   you remember for this specific minor that you
23   provided?
24        A.     Yes, I don't recall.
25        Q.     Since your deposition in December, have


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 1   you had any conversations with ICE about abortion?
 2        A.      I don't think so.
 3        Q.      Have you instructed your staff to have
 4   any conversations with ICE about abortion since
 5   your deposition?
 6        A.      I don't think so.
 7        Q.      So before we talked about other minor
 8   abortion requests that came in since your
 9   deposition.     So this represents two.        I want to
10   talk about others.      There was one in January, and
11   I wanted to ask you questions about what
12   instructions you made with respect to her, to her
13   abortion.
14        A.     January?
15        Q.     Um-hum.
16        A.     I don't recall.      I would need more
17   specifics.
18        Q.     So this will be under the
19   confidentiality order.
20                            .   Does that ring a bell?
21        A.     It does.
22        Q.     What instruction did you provide for
23   this particular minor when her abortion request
24   came in?
25        A.     I don't recall.      It would be along the


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 1   lines of I would instruct the staff to develop the
 2   record if there was something missing.           I don't
 3   recall the specific instructions given to staff
 4   with regard to that request.
 5        Q.    When you -- strike that.
 6        When you said develop the record and see if
 7   there's anything missing, what are the types of
 8   things that you're looking for when you get an
 9   abortion request?
10        A.    Same as in the last deposition, just the
11   full facts.
12        Q.    Were you involved in this particular
13   minor's release decision to her sponsor?
14        A.    This is                ?
15        Q.    Yeah.
16        A.    I don't think so.
17        Q.    Are you typically personally involved in
18   decisions to release minors to their sponsors?
19        A.    Not typically.
20        Q.    If you are not, who is in your staff?
21        A.    That's a determination made by field
22   staff in conjunction with their case manager.
23        Q.    So on a routine basis, decisions to
24   release a minor to her sponsor don't reach your
25   desk; is that fair?


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                                                                        Page 244
 1           A.   Yeah.    On a routine basis, most
 2   decisions do not reach my desk.
 3           Q.   About release to sponsors?
 4           A.   Right.
 5           Q.   And is that also true for any sort of
 6   release or transfer to ICE upon a minor reaching
 7   the age of maturity, or is that a different
 8   question?
 9           A.   Usually I would not be involved in that.
10   There's some releases for -- that do reach our --
11   reach the office of the director on a routine
12   basis, but it's a very minor segment of the
13   population.
14        Q.      What is the criteria for that minor
15   segment of the population?
16        A.      Potential danger to the community/gang
17   involvement.
18        Q.      So far none of the minors that we have
19   talked about fall into that category; is that
20   fair?
21        A.      That's fair.
22        Q.      With respect to the minor that we're
23   talking about in                  now, did you request
24   that she be read information about an adoptive
25   family?


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 1        A.    Yes, I believe so.        I think we're
 2   talking about the same case.
 3        Q.    What did that information about the
 4   adoptive family say?
 5        A.    It was an offer that we received from a
 6   family interested in adoption that was directed
 7   toward that particular minor.         That was just --
 8   they were able to do that because of news reports
 9   about the case.     So we asked that the offer be
10   translated into              to the UAC.
11        Q.    Did you know this prospective adoptive
12   couple?
13        A.    No.
14        Q.    You never heard their names before?
15        A.    No.
16        Q.    Is this the first type of offer for
17   adoption that has made its way to you in the
18   context of having someone seeing a news story
19   about the abortion request and ORR custody?
20        A.    No.
21        Q.    Sorry.    It's not the first one?
22        A.    (Nodding.)
23        Q.    Typically when you get an offer for
24   adoption, what do you do with that?
25        A.    It's not a typical situation.          It's


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 1   really only, in my recollection, arose twice.              I
 2   think the circumstances of the first time were
 3   such that we couldn't do much with the offer.              And
 4   the second time, we just passed it on to the girl.
 5        Q.    And in the first circumstance, why were
 6   you unable to do anything?
 7        A.    I think, if memory serves -- well,
 8   first, there's no real procedure for that.            So
 9   that may have been a delaying factor.           Then the
10   other, I believe the UAC either left custody or
11   obtained an abortion before it was material.
12        Q.    So with this minor, going back to the
13               minor, when you received this offer of
14   adoption, did you do anything to vet the couple
15   that was making the offer?
16        A.    No.
17        Q.    Any assessment of whether they would be
18   good adoptive parents?
19        A.    No.
20        Q.    Why did you instruct that the minor
21   receive the offer?
22        A.    To discern whether that is something
23   she'd be interested in pursuing.
24        Q.    Had the minor given any indication that
25   you were aware of that she was interested in


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 1   carrying the pregnancy to term and placing the
 2   baby for adoption?
 3        A.    No.
 4        Q.    Was the offer of adoption read to the
 5   minor by shelter staff or someone on your staff?
 6        A.    I think that it was.        I actually don't
 7   recall receiving confirmation of that.
 8        Q.    Any other instructions with respect to
 9   this particular minor that you either communicated
10   directly to the shelter or directly -- I'm
11   sorry -- through staff?
12        A.    Not that I -- I don't recall.
13        Q.    I'm sorry if I forgot this, but did you
14   speak directly to this other particular shelter?
15        A.    I don't think so.
16        Q.    So earlier when we started the
17   deposition, you indicated there may have been a
18   shelter or more than one shelter that you had
19   spoken directly to about a minor's abortion
20   request.   So far in the three minors that we've
21   talked about thus far, none of those shelters
22   you've spoken to directly; is that fair?
23        A.    Yeah.    That sounds right.
24        Q.    So in what other circumstances -- what
25   other minors have we not yet talked about where


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 1   you may have talked to the shelter directly?
 2        A.    I can say that I really don't think that
 3   I have been in direct contact with a shelter in
 4   any circumstance since our last deposition.
 5        Q.    So we have talked about three minors.
 6   There's a minor that recently requested access to
 7   abortion in         .
 8        A.    How recently?
 9        Q.    Very recently, this month.
10        A.    Okay.
11        Q.    Were you aware of that abortion request?
12        A.    Yes, if we're talking about the same
13   thing.
14        Q.    What instructions have you given with
15   respect to that minor?
16        A.    To ascertain whether she desires legal
17   counsel in the matter.
18        Q.    And how did you instruct that that
19   determination be reached?
20        A.    Just through her caseworker, clinical
21   caseworker.
22        Q.    At the shelter?
23        A.    Yeah.
24        Q.    Have you made any instructions with
25   respect to any of the other types of instructions


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                                                                        Page 249
 1   we have seen with other abortion requests, for
 2   example, telling the parents in the home country
 3   or requiring the minor to tell the parents in the
 4   home country?
 5        A.    Yes.
 6        Q.    A visit to a crisis pregnancy center?
 7        A.    No.
 8        Q.    Spiritual counseling?
 9        A.    No.
10        Q.    So the only instructions that you have
11   made with respect to this particular minor that
12   made the request for abortion this month is
13   pertaining to whether she wants legal counsel?
14        A.    Right.    I may have mentioned to ensure
15   that she knows that spiritual counseling is
16   available if she wants it.
17        Q.    Do you know if she requested spiritual
18   counseling?
19        A.    I don't think that she did.
20        Q.    So we talked about four minors.           We had
21   talked about that you thought there would be less
22   than five abortion requests.
23        Are there any abortion requests that have
24   been made that have been brought to your attention
25   since your deposition on December 18 that we have


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                                                                        Page 250
 1   not discussed?
 2          A.   No, not to my recollection.         I think
 3   we've covered them all.
 4          Q.   Have you provided instruction to legal
 5   services attorneys funded by ORR about what they
 6   may or may not say about abortion to their
 7   clients?
 8          A.   I'm sorry.      Could you repeat the
 9   question?    I missed the first part.
10          Q.   Have you made an instruction to legal
11   services attorneys, organizations rather, that
12   receive funding through ORR about what they may or
13   may not say about abortion?
14          A.   No.
15          Q.   Do you know whether anyone on your staff
16   has?
17          A.   No.
18          Q.   Is it your position that a legal
19   services organization that receives funding
20   through ORR either directly or through the Vera
21   Institute is not prohibited from discussing
22   abortion with their clients?
23          A.   Is it my position that they're not
24   prohibited from?     Yes.    It's my position.       Because
25   that's my understanding of the contract that they


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                                                                        Page 251
 1   sign, but I would defer to the contract officer as
 2   to what the specific terms are.
 3           Q.   You personally have not instructed your
 4   staff to communicate to the Vera Institute that
 5   their grantees or subcontractors, rather, should
 6   not discuss abortion with their clients?
 7           A.   No.   I did not make that.
 8           Q.   Did you make that request with respect
 9   to any Know Your Rights material used by those
10   organizations?
11        A.      No.
12                MS. AMIRI:   If we can step out for about
13   five minutes, I'm probably pretty close to being
14   done.
15                THE VIDEOGRAPHER:     We're off the record
16   at 12:12.
17                (Recess from 12:12 p.m. to 12:17 p.m.)
18                THE VIDEOGRAPHER:     We're back on the
19   record at 12:17.
20                MS. AMIRI:   I don't have anything
21   further at this time.       Mr. Tomlinson may have
22   questions for you which may then trigger questions
23   for me, but at this time, I have nothing further.
24                MR. TOMLINSON:    Do you mind if we just
25   take a minute?


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                                                                        Page 252
 1               THE VIDEOGRAPHER:      Off the record at
 2   2:17.
 3               (Recess from 12:17 p.m. to 12:25 p.m.)
 4               THE VIDEOGRAPHER:      We're back on the
 5   record at 12:25.
 6                             EXAMINATION
 7   BY MR. TOMLINSON:
 8        Q.     Mr. Lloyd, I have just a couple
 9   questions for you.      I'm going to ask you to look
10   at what plaintiff's counsel marked as Exhibit 24.
11   And specifically I'm going to ask you to look at
12   the note to file that starts on the second page of
13   that exhibit, the one that's with the Bates number
14   15607.    Do you see that?
15        A.     Yes.
16        Q.     You said in your deposition that this
17   is -- that decisions like this about whether to
18   approve a minor's request for termination of
19   pregnancy are made on a case-by-case basis; right?
20        A.     Yes.
21        Q.     You said that that considers all the
22   facts available to you; right?
23        A.     Yes.
24        Q.     Is there anywhere in this memo where you
25   reference religion or your personal religious


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                                                                        Page 253
 1   beliefs?
 2         A.    No.
 3         Q.    How important are your personal
 4   religious beliefs in making the case-by-case best
 5   interest determination?
 6         A.    My religious beliefs form the -- they're
 7   at the core of anything I would do in all
 8   settings.    They motivate me to treat other people
 9   the way that I do and to -- they are in a sense --
10   they're just part of who I am, core part of who I
11   am.   But they're not a part of an analysis as to
12   what happens in the termination request when I'm
13   acting as director of the Office of Refugee
14   Resettlement.
15               MR. TOMLINSON:     That's all the questions
16   I have.    Thank you.
17                             EXAMINATION
18   BY MR. SPENCER:
19         Q.    I just have a few clarifying questions.
20         Earlier in your deposition, you discussed an
21   agreement that was negotiated or signed with a
22   religiously-affiliated shelter since your last
23   deposition; is that right?
24         A.    Yes.
25         Q.    And you testified that you did not know


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                                                                        Page 254
 1   which shelter that was.
 2        A.      That's correct.
 3        Q.      And you did not know whether that
 4   shelter was a subgrantee of the USCCB?
 5        A.      That's correct.
 6        Q.      So your answer that it was likely part
 7   of USCCB's list of subgrantees and possibly
 8   Catholic Charities was speculation?
 9        A.      Yes.
10               MR. SPENCER:     I don't have any other
11   questions.
12                           RE-EXAMINATION
13   BY MS. AMIRI:
14        Q.     I have just one follow-up drawn out by
15   Mr. Tomlinson's questions.
16        On Exhibit 24 that's in front of you, on
17   Price production 15609, footnote 6, there's a
18   reference to an organization called Hope After
19   Abortion.
20        A.     Yes.
21        Q.     What is Hope After Abortion?
22        A.     It's a ministry for women who have had
23   abortions and come to regret them and seek
24   healing.
25        Q.     Have you had any connections with them


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                                                                        Page 255
 1   professionally prior to joining ORR?
 2        A.    No.
 3        Q.    Have you had any conversations with them
 4   since your time at ORR?
 5        A.    No.
 6              MS. AMIRI:     I have nothing further.
 7              THE VIDEOGRAPHER:       This concludes the
 8   video recorded deposition of Scott Lloyd.            We're
 9   off the record at 12:30.
10              (Whereupon, at 12:30 p.m., the taking of
11   the instant deposition ceased.)
12
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                                                                        Page 256
 1                       C E R T I F I C A T E
 2   DISTRICT OF COLUMBIA:
 3
 4        I, Ann Medis, Registered Professional Reporter
 5   and Notary Public, hereby certify the witness, SCOTT
 6   LLOYD, ESQUIRE, was by me first duly sworn to testify
 7   to the truth, that the foregoing deposition was taken
 8   at the time and place stated herein, and that the said
 9   deposition was recorded stenographically by me and
10   then reduced to printing under my direction, and
11   constitutes a true record of the testimony given by
12   said witness.
13        I certify the inspection, reading and signing of
14   said deposition were NOT waived by counsel for the
15   respective parties and by the witness.
16        I certify I am not a relative or employee of any
17   of the parties, or a relative or employee of either
18   counsel, and I am in no way interested directly or
19   indirectly in this action.
20        IN WITNESS WHEREOF, I have hereunto set my hand
21   and affixed my seal of office this 26th day of
22   February, 2018.
23
24                           ____________________________
                                     Notary Public
25


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                                                                        Page 257
 1                 TRANSPERFECT DEPOSITION SERVICES
                         216 East 45th Street
 2                             Suite 903
                       New York, New York 10017
 3                           212.400.8845
 4                          ERRATA SHEET
 5   CASE:         ACLU v HARGAN, ET AL.
     DATE:         FEBRUARY 13, 2018
 6   WITNESS:      SCOTT LLOYD, ESQUIRE
 7   Page   Line      Change and reason for change:
 8   ____   ____    _______________________________________
 9   ____   ____    _______________________________________
10   ____   ____    _______________________________________
11   ____   ____    _______________________________________
12   ____   ____    _______________________________________
13   ____   ____    _______________________________________
14   ____   ____    _______________________________________
15   ____   ____    _______________________________________
16   ____   ____    _______________________________________
17   ____   ____    _______________________________________
18   ____   ____    _______________________________________
19   ____   ____    _______________________________________
20   ____   ____    _______________________________________
21
22
     Subscribed and sworn to me this
23
     _______ day of ________________, 2018.
24
25   ______________________________________


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            EXHIBIT B
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                                                                     Page 103
            IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF CALIFORNIA
                   San Francisco Division
- - - - - - - - - - - - - - -
                                      |
AMERICAN CIVIL LIBERTIES              |
UNION OF NORTHERN                     |
CALIFORNIA,                           |
                                      |
                 Plaintiff,           |   Case Number:
                                      |
v.                                    |   3:16-cv-3539-LB
                                      |
ERIC G. HARGAN, Acting                |
Secretary of Health and               |
Human Services, et al.,               |
                                      |
                 Defendants,          |
                                      |
v.                                    |
                                      |
U.S. CONFERENCE OF                    |
CATHOLIC BISHOPS,                     |
                                      |
     Defendant-Intervenor.            |
                                      |
- - - - - - - - - - - - - - -

VIDEOTAPED DEPOSITION OF COMMANDER JONATHAN WHITE, AS
     A FACT WITNESS AND U.S. PUBLIC HEALTH SERVICE'S
       DESIGNATED 30(B)(6) REPRESENTATIVE, VOLUME II
                         Washington, D.C.
           Tuesday, February 13, 2018 - 1:41 p.m.




Reported by:
Ann Medis, RPR
Job No. 20790


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                                                                       Page 104
 1
 2                    Videotaped Deposition of
 3                    COMMANDER JONATHAN WHITE
 4
 5   Held at the offices of:
 6
 7                    U.S. Department of Justice
 8                    20 Massachusetts Avenue, N.W.
 9                    Washington, D.C.       20001
10                    202.353.4556
11
12
13
14
15
16
17                            Taken pursuant to notice,
18                    before Ann Medis, Registered
19                    Professional Reporter, and notary
20                    public in and for the District of
21                    Columbia.
22
23
24
25


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                                                                       Page 105
 1                       A P P E A R A N C E S
 2   ON BEHALF OF PLAINTIFF
 3              ACLU Foundation
                BY: BRIGITTE AMIRI, ESQUIRE
 4              AND MEAGAN BURROWS, ESQUIRE
                125 Broad Street
 5              New York, New York 10004
                212.519.7897
 6              bamiri@aclu.org
                mburrows@aclu.org
 7
 8   ON BEHALF OF DEFENDANTS ERIC G. HARGAN and DEPARTMENT
     OF HEALTH AND HUMAN SERVICES
 9
                UNITED STATES DEPARTMENT OF JUSTICE
10              BY: MARTIN M. TOMLINSON, ESQUIRE
                20 Massachusetts Avenue, N.W.
11              Room 6139
                Washington, D.C. 20001
12              202.353.4556
                martin.m.tomlinson@usdoj.gov
13
14   ON BEHALF OF DEFENDANT-INTERVENOR USCCB
15              GIBSON DUNN & CRUTCHER, LLP
                BY: JACOB SPENCER, ESQUIRE
16              AND ROBERT DUNN, ESQUIRE (by phone)
                333 South Grand Avenue
17              Los Angeles, California 90071
                213.229.7000
18              jspencer@gibsondunn.com
                rdunn@gibsondunn.com
19
20   ALSO PRESENT
21              Kim Johnson, Videographer
22              Llewellyn Woolford, Esquire, HHS
23              Caitlin Palacios, Esquire, HHS
24              Rachel Chrisinger, Paralegal
25


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                                                                       Page 107
 1                       P R O C E E D I N G S
 2                               - - - -
 3                THE VIDEOGRAPHER:     Here begins Media
 4   Number 1 in the videotaped deposition of Jonathan
 5   White taken in the matter of American Civil
 6   Liberties Union of Northern California versus
 7   Burwell, et al., Case No. 3:16-cv-3539-LV in the
 8   U.S. District Court of Northern California, San
 9   Francisco Division?
10       This deposition is being held at 20
11   Massachusetts Avenue, Northwest, Washington, D.C.
12   on February 13, 2018 at approximately 1:41 p.m.
13   My name is Kim Johnson.       I'm a legal video
14   specialist.    The court reporter today is Ann
15   Medis.   Both are in association with TransPerfect.
16       Will counsel please introduce yourselves and
17   state who you represent.
18              MS. AMIRI:     Brigitt Amiri for the
19   plaintiff.
20              MS. BURROWS:     Meagan Burrows for the
21   plaintiff.
22              MR. TOMLINSON:      Martin Tomlinson for the
23   federal defendants.
24              MR. WOOLFORD:      Llewellyn Woolford for
25   the defendant U.S. Department of Health and Human


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                                                                       Page 108
 1   Resources.
 2               MS. PALACIOS:     Caitlin Palacios of the
 3   U.S. Department of Health and Human Services.
 4               MR. SPENCER:    Jacob Spencer for the
 5   defendant-intervenor and the USCCB.          Also on the
 6   phone is Robert Dunn.
 7               THE VIDEOGRAPHER:      Will the court
 8   reporter please swear in the witness.
 9                     COMMANDER JONATHAN WHITE,
10         having been first duly sworn, was examined
11                    and testified as follows:
12                             EXAMINATION
13   BY MS. AMIRI:
14       Q.      Mr. White, thank you so much for joining
15   us again today.     A lot of questions I'm going to
16   ask you are going to be about things that have
17   happened since your deposition.         So I'll try to
18   keep saying that in my questions, but generally,
19   we're here to finish up the deposition from
20   documents that we received since then, and I'll
21   ask you questions about some things that have
22   happened since your deposition.
23       Has ORR finalized any policies with respect
24   to abortion access since your deposition in
25   December?


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                                                                       Page 109
 1        A.    No.   There have been no additional
 2   policies since we last spoke in December at the
 3   last deposition.
 4        Q.    And by policies I also include final
 5   guidance, final statements, broad statements to
 6   shelters, things like that.        So I'll use the term
 7   more broadly than like a formal policy, but
 8   guidelines or anything that would fall into the
 9   category of a final statement from ORR about
10   abortion access.
11       A.     I understand.      There's been no
12   additional guidance, policy or direction
13   promulgated to providers by ORR on this issue.
14       Q.     Have there been any contracts that have
15   been negotiated with religiously-affiliated
16   shelters that have objections to providing access
17   to abortion and contraception since your
18   deposition in December?
19       A.     Contracts, we operate those typically on
20   a grant basis.
21       Q.     I'll amend my question with grant
22   instead of contract.
23       A.     Could you repeat your question?
24       Q.     Since your deposition in December, have
25   there been any negotiations with any


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                                                                       Page 110
 1   religiously-affiliated shelter about the terms of
 2   their grant or a Memorandum of Understanding about
 3   access to abortion and contraception for
 4   unaccompanied minors?
 5        A.     I believe we have formalized an addendum
 6   to the cooperative agreement with USCCB and also
 7   with Lutheran Immigration and Refugee -- Human
 8   Refugee Services.
 9        Q.     Does the addendum for the cooperative
10   agreement with USCCB speak to the issue of access
11   to abortion or contraception for unaccompanied
12   minors?
13       A.      It formalizes the prior operational
14   practice.
15       Q.      I know we talked about it the last time,
16   but just for purposes of our conversation right
17   now, what was the prior operational practice?
18       A.      That in the event that any long-term
19   foster care grantee in that network were to
20   receive a request from a minor in care for a
21   healthcare intervention that would be inconsistent
22   with Catholic doctrine, that the grantee's
23   requirement would be to notify the ORR federal
24   field specialists of that request.
25       Q.      And does the contract or, sorry, the


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                                                                       Page 111
 1   Memorandum of Understanding also say what happens
 2   after the notification from USCCB's subgrantees to
 3   the federal field specialist?
 4        A.    I don't believe it specifies that.
 5        Q.    In practice we talked at your deposition
 6   last time about what has happened in the past.             Is
 7   it your understanding that that would be the same
 8   practice, and roughly I'll just kind of
 9   paraphrase, that the federal field specialist
10   would then contact ORR and arrangements for a
11   transfer of the minor would take place to a
12   shelter that didn't have objections to providing
13   the specific healthcare?
14       A.     That has been the practice in the past.
15   We've not had such a request from a minor in a
16   sheltered -- in a residential care facility that
17   has a document-based objection.         I have not
18   received direction on what our federal actions
19   would be in that circumstance now, but that is an
20   accurate statement about the previous operational
21   activities.
22       Q.     Were you personally involved in the
23   contract negotiations -- grantee negotiations --
24   I'll back up and strike that altogether.
25       Were you personally involved in the


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                                                                        Page 112
 1   Memorandum of Understanding negotiation with USCCB
 2   about the religious exception that they have in
 3   the addendum that you just referenced?
 4        A.    No, I was not.
 5        Q.    Do you know what the conversations did
 6   consist of in terms of any of those negotiations
 7   with USCCB?
 8        A.    I'm not privy to the content of those
 9   conversations.
10        Q.    Who at ORR would be?
11        A.    I believe that would most likely be our
12   division of policy and procedure.
13        Q.    And who is the director of the division
14   of policy and procedure now?
15        A.    The division director is Anna Marie
16   Bennett.
17        Q.    But as it stands now since your
18   deposition in December, there is an addendum to
19   USCCB's cooperative agreement signed by both USCCB
20   and ORR that memorializes a religious exception to
21   providing certain forms of healthcare?
22        A.    I have not seen a version that's signed
23   by both parties.     I have seen a version signed by
24   ORR that does formalize our prior practice.
25        Q.    You also mentioned Lutheran Immigration


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                                                                        Page 113
 1   Refugee Services as well.        Did the agreement
 2   signed with LIRS speak to the issue of access to
 3   abortion and contraception?
 4          A.   It did not.     To my knowledge, it did
 5   not.
 6          Q.   To your knowledge, does LIRS have a
 7   religious objection to providing access to
 8   abortion and contraception for unaccompanied
 9   minors in their care?
10          A.   I don't know.
11          Q.   So other than the USCCB and LIRS
12   agreement, are you aware of any other discussions
13   with any other grantee about the terms of their
14   Memorandum of Understanding with respect to
15   abortion or contraception?
16          A.   I don't believe there are any.
17          Q.   You mentioned there had not been any
18   requests for abortion from religiously-affiliated
19   shelters that have a religious objection to
20   providing access to abortion.         And I just want to
21   clarify the timeframe.       I know we talked about it
22   at your last deposition.
23          So let's say since your last deposition, is
24   that the case, that there's been no request for
25   abortion from a religiously-affiliated shelter


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                                                                        Page 114
 1   that has had objection to providing access to
 2   abortion?
 3        A.     I have not been notified of any request
 4   for access to abortion services by a minor
 5   sheltered in a program which has such an
 6   objection.
 7        Q.     And my same question would be true with
 8   respect to contraception, are you aware of any
 9   sort of instance where a religiously-affiliated
10   shelter has had a minor in their care who's
11   requested access to contraception and not been
12   provided with access to contraception because of
13   the religious affiliation of the shelter?
14        A.     I'm not aware of any such request.           As a
15   reminder, that is not a covered service in any of
16   our providers.
17        Q.     I think just to clarify that, last time
18   I believe you said with respect to medical
19   indications, contraception can be prescribed.
20        A.     Correct.
21        Q.     And I'm also guessing based on the
22   Prison Rape Elimination Act, that emergency
23   contraception for unaccompanied minors who suffer
24   sexual assault in the facility is a covered
25   service?


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                                                                        Page 115
 1        A.    Under our interim final rule, any minor
 2   who is sexually assaulted while in ORR care has
 3   access to emergency contraception.
 4        Q.    And I think last time we met, there had
 5   not been an instance of a sexual assault at a
 6   facility that necessitated the need for access to
 7   emergency contraception or abortion.
 8        So my question is:       Since your deposition,
 9   has there been any such request?
10        A.    There has not.      I have not received any
11   report of any minor becoming pregnant as a result
12   of sexual assault while in ORR custody.
13        Q.    Have you received a report of a minor
14   who hasn't yet become pregnant as a result of
15   sexual assault, but has requested emergency
16   contraception to prevent pregnancy?
17        A.    No.    I've not received any such request.
18        Q.    Since your deposition, have you become
19   aware of any abortion requests from shelters?
20              MR. TOMLINSON:      Before we move on, can I
21   just state for the record what we discussed before
22   we went on the record, which is that Mr. White was
23   prepared as a 30(b)(6) witness with regard to
24   events and documents that were generated prior to
25   December 22, 2017, and he can speak as a 30(b)(6)


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                                                                        Page 116
 1   witness on behalf of the federal defendants in his
 2   capacity as a 30(b)(6) witness with regard to
 3   those events.      Anything outside of that timeframe
 4   he is testifying as a fact witness in his personal
 5   capacity.
 6               MS. AMIRI:    Thank you.      Yes.
 7   BY MS. AMIRI:
 8        Q.     So with that caveat -- and that can
 9   stand for any of the questions.         I might ask you
10   specifically something as falling within the scope
11   of the 30(b)(6) that I would have anticipated that
12   you would have been prepared for.          That's a
13   different thing.      But I'm happy for that objection
14   to stand.    If we need further clarification for
15   any of those specific questions, we can certainly
16   do that.
17        Since your deposition, have you been made
18   aware of abortion requests from shelters?
19        A.     Yes.
20        Q.     How many?
21        A.     I believe five subsequent to the
22   deposition.
23        Q.     There should be a pile of exhibits in
24   front of you.      Let's start with the first one.
25   Hopefully 22 is the first.


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                                                                        Page 117
 1        A.     22?
 2        Q.     Yep.    I'm sorry.    I mean 23.     I did not
 3   mean 22.
 4        A.     I don't know if I should see 22.          I
 5   think it's speaking to Mr. Lloyd's deposition.
 6        We're looking at 23?
 7        Q.     23.
 8        A.     Can you give me just a moment to review
 9   this?
10        Q.     Yes, absolutely.      Take you time.      Let me
11   know when you're ready.
12        A.     Yes.    I'm familiar with this email
13   exchange.
14        Q.     When you spoke about the five minors
15   since your deposition that have come to your
16   attention that have sought abortion, is this one
17   of them?
18        A.     No.    This is a minor whose request was
19   outstanding when we spoke last and had continued
20   through the period of the last deposition.
21        Q.     Is it your understanding -- well, let me
22   back up and just ask the question.          Do you believe
23   that there is anyone on staff at ORR that has the
24   clinical training or competency to do options
25   counseling with respect to pregnancy and abortion?


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                                                                        Page 118
 1        A.     Could you sort of clarify which
 2   component of options counseling?
 3        Q.     Sure.    Actually, I'm going to try to
 4   find it.    In one of the emails, there's a
 5   reference to a conversation that you had with
 6                            about whether there was anyone
 7   from ORR that had the clinical training to do
 8   options counseling and specifically in the context
 9   of this particular minor.        So we can find it and
10   pull it up, but I wanted to ask you some questions
11   about it.    And I just wasn't able to put my
12   fingers on it yet.
13        Exhibit 26, do you recognize the email in
14   Exhibit 26?
15        A.     Yes, I do.
16        Q.     It's an email from you to Scott Lloyd?
17        A.     Correct.
18        Q.     Who is                ?
19        A.                    is a special assistant.
20
21                        .    She's a nonsupervisory
22   individual, career, who is a special assistant.
23   She's not a decision-maker.
24        Q.     In number two in your email, that is
25   what I was referencing, that                 has indicated


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                                                                        Page 119
 1   that the DHUC staff are not able to participate.
 2   I wanted to ask you in the context of this email,
 3   it seems like there was maybe a conversation that
 4   you had with             or knowledge that you had
 5   about the clinical training, expertise and
 6   practice scope of the HUC staff members.
 7        A.    Correct.
 8        Q.    So kind of going back to my question,
 9   was there a determination made that there was
10   nobody on ORR staff that had the clinical training
11   or expertise or practice scope to provide option
12   counseling to this minor who was considering
13   termination?
14        A.    It was -- it was my view and that of the
15   medical team that there was no one on our medical
16   team who was trained to provide medical options
17   counseling.
18        Q.    Was that view disputed by Scott Lloyd or
19   anyone higher up?
20        A.    No, not to my knowledge.         We did not
21   have a discussion.
22        Q.    Was it your understanding that
23          was being asked to provide options
24   counseling to the minor in this email?
25        A.                       was not directed to


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                                                                        Page 120
 1   provide options counseling.        She was directed to
 2   observe the interactions to it and to determine --
 3   to ensure that the minor was able to verbalize her
 4   options.
 5        Q.      Do you know who did the options
 6   counseling for this particular minor?
 7        A.      It was provided by the medical director
 8   of the sheltering program is my understanding.
 9        Q.      Do you understand know whether -- do you
10   know whether Scott Lloyd instructed this
11   particular minor to attend a counseling session at
12   a crisis pregnancy center?
13        A.    I believe this minor did attend a crisis
14   pregnancy center counseling session.
15        Q.    Do you know whether this particular
16   minor was required to tell her parents about her
17   abortion decision?
18        A.    There was a parental notification
19   conducted to my recollection.
20        Q.    Was that at the requirement of ORR?
21        A.    Yes.
22        Q.    Did you know that Scott Lloyd had
23   directed that this particular minor be read a
24   description of a dilation and extraction
25   procedure?


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                                                                        Page 121
 1        A.    I'm aware that that was his direction.
 2        Q.    Do you know whether anyone at ORR
 3   carried out that direction?
 4        A.    I believe that that description was read
 5   to the minor but not by federal personnel.
 6        Q.    By someone at the shelter?
 7        A.    That is my understanding, yes.
 8        Q.    Is this the first time that Scott Lloyd
 9   had ever required a minor considering abortion to
10   be read a description of abortion from a Supreme
11   Court case?
12        A.    I have not received any direction prior
13   to this for that to happen in any other case.
14        Q.    Have you received any instruction after
15   this case for that to happen?
16        A.    No.
17        Q.    This is you, Jonathan White personally.
18   Do you think it's appropriate for a minor
19   considering abortion to be required to listen to a
20   description of an abortion procedure that is
21   discussed in a Supreme Court case?
22              MR. TOMLINSON:      Objection.      Foundation.
23              THE WITNESS:      Could you just articulate
24   sort of what you mean?       Appropriate in what sense?
25


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                                                                        Page 122
 1   BY MS. AMIRI:
 2        Q.    Appropriate in terms of whether this is
 3   appropriate for counseling, options counseling or
 4   medical informed consent.
 5        A.    It is my understanding that it would not
 6   meet JCAHO standards for medical informed consent.
 7        Q.    What is your understanding of what
 8   JCAHO -- well, let's back up and say what the
 9   acronym for JCAHO is.
10        A.    It's the Joint Commission for the
11   Accreditation for Health Organizations.
12        Q.    And what is your understanding of what
13   JCAHO's standards are for informed consent.
14        A.    At a medical intervention that informed
15   consent would be based on information provided by
16   the provider who will perform the procedure.
17        Q.    Are you aware of ORR providing this type
18   of medical informed consent to a minor in any
19   context other than abortion?
20        A.    I'm not sure I understand the question.
21        Q.    So a minor undergoing any other medical
22   procedure, not abortion, are you aware of whether
23   ORR has required this type of medical informed
24   consent be given by the shelter staff or ORR
25   staff?


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                                                                        Page 123
 1        A.     I'm not aware of another instance for a
 2   different intervention that would require that.
 3        Q.     Do you know whether Scott Lloyd issued
 4   any instructions with respect to this particular
 5   minor that were not communicated over email?
 6   Sorry.    I'll ask it a different way.
 7        Did Scott Lloyd have any verbal conversations
 8   with you about instructions for this particular
 9   minor as prerequisites for her abortion request to
10   be considered by him?
11        A.     We had a number of conversations about
12   this minor's case in which direction was provided.
13        Q.     What direction was provided to you about
14   this minor's case from Scott Lloyd?
15        A.     I don't recall any direction which is
16   not contained or summarized in the email.            Most of
17   the direction had to do with what would need to be
18   communicated with the minor and by whom.
19        Q.     We talked about one component of what
20   needed to be communicated with the minor, which
21   was the description in the Gonzales case; correct?
22        A.     That's correct.
23        Q.     Another was an offer for her to view a
24   picture of a 23-week abortion.         Does that sound
25   familiar?


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                                                                        Page 124
 1           A.   It does.     That's also correct.
 2           Q.   And is there anything else in the bucket
 3   of information that needed to be communicated with
 4   the minor that we haven't talked about?
 5           A.   The minor also had the option to carry
 6   the child -- to carry the pregnancy to term and
 7   parent, to carry the pregnancy to term and place
 8   the resulting baby up for adoption in addition to
 9   the option for termination.
10        Q.      You're aware that Scott Lloyd also
11   proposed a certain list of questions to a medical
12   provider about which type of abortion would be
13   performed.     Do you remember that?
14        A.      Yes, but is there a document you can
15   direct me to so it will help me?
16        Q.      Yes.   I'm not sure that we have
17   introduced it yet.      Give me just a second.        I
18   think we might not have made it an exhibit yet.
19                MS. AMIRI:    Marty, do you have a
20   preference?     Do you want to start with White 1?
21                MR. TOMLINSON:    How did we do it last
22   time?
23                MS. AMIRI:    I didn't have any new
24   exhibits for Mr. White last time.          We only used
25   ones that we had done for Lloyd last time.


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 1              MR. TOMLINSON:        I leave it up to you.
 2   We can do White 1, but if you just want to do 30
 3   or whatever.
 4              MS. AMIRI:     33?
 5              MR. TOMLINSON:        I think that would be
 6   fine.
 7              (White Exhibit 30 was marked.)
 8   BY MS. AMIRI:
 9         Q.   I'll hand you what has been marked as
10   Exhibit 30.
11         A.   Thank you.     Yes.    I do recall being
12   directed to have these questions posed.
13         Q.   Do you know why Scott posed these
14   questions to the provider?
15         A.   I do not know why.
16         Q.   Do you know whether those questions were
17   answered by a medical provider?
18         A.   I don't believe they were ever answered
19   or if they were, that answer was not provided to
20   me.
21         Q.   Did you have any conversations with
22   Scott Lloyd about whether he intended to influence
23   which type of abortion procedure this minor would
24   undergo to maximize the chance of a live birth?
25         A.   We did not have any such conversation.


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                                                                        Page 126
 1        Q.      Do you know whether Scott Lloyd had
 2   those conversations with anybody?
 3        A.      I'm not aware of any such conversations.
 4                (White Exhibit 31 was marked.)
 5   BY MS. AMIRI:
 6        Q.      I'll hand you what's been marked as
 7   Exhibit 31.
 8        A.      Thank you, ma'am.
 9                (Witness reviewed the exhibit.)
10              THE WITNESS:      Yes.    I've reviewed it.
11   BY MS. AMIRI:
12        Q.    I had a question, if you happen to know.
13   In the email that is from                                to
14   you, in the sentence that begins, "The medical
15   exam at      conducted on," and then it's been
16   redacted, I wanted to ask you if you knew what
17   stood for.
18        A.    I believe in this context, it likely
19   refers to the name of the sheltering program where
20   the minor was prior to her transfer.
21        Q.    So this particular minor had been at one
22   shelter, was transferred to another shelter?
23        A.    Correct.
24        Q.    The shelter that she originated at, was
25   it a religiously-affiliated shelter?


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 1         A.   I don't believe it has any religious
 2   affiliation.     Yeah, I don't believe it has any
 3   religious affiliation.
 4         Q.   So are       initials?     Does it stand for
 5   something?
 6         A.   It does.
 7         Q.   What does it stand for?
 8         A.   It stands for                            .
 9         Q.   So with this particular minor -- I'll
10   hand you a document before I ask you a question.
11   Oh, it may already be an exhibit.
12         Put Exhibit 25 in front of you and see if
13   we're on the same page.       Is it Bates 15441 that
14   you have in front of you at the bottom?
15         A.   Yeah.    The production stamp is 15450 and
16   15451.
17         Q.   No.    We'll make a new one.
18              (White Exhibit 32 was marked.)
19   BY MS. AMIRI:
20         Q.   I hand you what's been marked as Exhibit
21   32.
22              (Witness reviewed the exhibit.)
23              THE WITNESS:      Yes.
24   BY MS. AMIRI:
25         Q.   You recognize this document?


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 1        A.    I do.    I produced this document.
 2        Q.    Have you provided Mr. Lloyd with any
 3   decisional documents like this for any other
 4   minor?
 5        A.    This is the only case for which I've
 6   produced a full memorandum of this kind.
 7        Q.    And why did you do it in this case but
 8   not any other?
 9        A.    I did it in this case because the minor
10   in this case was covered by an exception to the
11   Hyde Amendment.
12        Q.    So this decisional memo is both about
13   approval for the abortion procedure and for the
14   use of federal funds; is that correct?
15        A.    That is correct.
16        Q.    So in the other circumstances where
17   there has been an abortion request, the request
18   has not necessarily involved the request to use
19   federal funds; is that correct?
20        A.    That is correct.
21        Q.    And you recommended --
22              MS. AMIRI:     I'm guessing it's redacted
23   because you're claiming deliberation privilege?
24              MR. TOMLINSON:      Over the recommendation.
25   Well, over the reason behind the recommendation.


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                                                                        Page 129
 1               MS. AMIRI:    But the fact that Mr. White
 2   recommended the abortion is not --
 3               MR. TOMLINSON:     Correct.
 4   BY MS. AMIRI:
 5          Q.   I can clarify that you recommended to
 6   Mr. Lloyd that he approve the abortion and approve
 7   the use of federal funds for the abortion?
 8          A.   I recommended that he approve the
 9   authorization for the minor to receive the
10   abortion procedure, and I recommended that he
11   authorize the use of federal funds for the
12   procedure and the facilitation of the procedure.
13          Q.   But he did not accept your
14   recommendation?
15          A.   The final decision was not to approve
16   the procedure or the use of federal funds.
17          Q.   Let's look at Exhibit 24 in front of
18   you.    I should have the right one.
19          A.   Yes.
20          Q.   So the page starting Price production
21   15607, that's Mr. Lloyd's final decision; is that
22   correct?
23          A.   Correct.    This is his note to the file
24   explaining the reasoning behind his decision.
25   What is before that is a cover email from me


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 1   sharing it with members of our team.
 2        Q.    Were members of your team concerned
 3   about Mr. Lloyd's ultimate determination not to
 4   authorize access to abortion for this particular
 5   minor?
 6        A.    Yes.
 7        Q.    Since your deposition, have you had any
 8   conversations about abortion access with anyone
 9   above Mr. Lloyd, for example, Steven Wagner or the
10   new HHS secretary?
11        A.    I have been in meetings where updates on
12   cases were made.     I do not recall being in any
13   decision-making discussions.
14        Q.    If you could look at Exhibit 28 in front
15   of you, please.
16              (Witness reviewed the exhibit.)
17              THE WITNESS:      Yes.    I'm familiar with
18   this communication.
19   BY MS. AMIRI:
20        Q.    Do you know -- some of it is redacted to
21   protect their personal identities, but my question
22   is not about the names of people who are with the
23   minor at the time that                visited.    But were
24   any of the people who were with                  when she
25   visited the minor staff of the federal government?


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 1        A.      It is possible that a federal field
 2   specialist would have been there also.           I'm not
 3   certain.
 4        Q.      Do you know whether any clinician from a
 5   crisis pregnancy center was at that meeting?
 6        A.      I'm trying to reacquaint myself.
 7        Q.      Sure.   Take your time.
 8        A.      I do not believe at this meeting there
 9   ended up being any CBC personnel.          I believe that
10   it involved staff from the sheltering program and
11                   .
12              MS. AMIRI:     Marty, I'd like to ask about
13   the conclusion on the last page and wanted to see
14   if there were any parameters I could ask about
15   what's been redacted.         We can put a pin in it, and
16   then maybe during a break, we can see if there's
17   anything that -- I'd like to know whether there
18   was some --
19   BY MS. AMIRI:
20        Q.    My question would be like whether there
21   was an ultimate recommendation made from this
22   visit that                .    But you can discuss at
23   the break with Mr. Tomlinson whether the answer to
24   that would reveal some sort of deliberative
25   process.   So we can come back to it.


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                                                                        Page 132
 1        A.    I understand.
 2        Q.    Before we move on, I just wanted to go
 3   back to my earlier line of questions when we
 4   started this.     Since your deposition, have there
 5   been any initial placement decisions made based on
 6   the fact that a minor is seeking an abortion?
 7        A.    None of which I'm aware, no.
 8        Q.    Turn to Exhibit 29.
 9        A.    Yes.    I recall this email exchange.
10        Q.    So this is about a different minor;
11   correct?
12        A.    This is not the same minor we were just
13   discussing.
14        Q.    On page 15592, it looks like an email
15   from you to the federal field specialist -- I
16   think she's a federal field specialist --
17        , relaying Scott's instructions that the
18          receive notification of the pregnancy and
19   the termination request.
20        A.    That's correct.
21        Q.    Were there any other instructions that
22   Mr. Lloyd told you to relay to the shelter or the
23   federal field specialist with respect to this
24   particular minor?
25        A.    Yes.    Those instructions were that the


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 1   program should request consent to notify parents
 2   of the pregnancy and termination request.            That
 3   was the previous instruction.         The determination
 4   was made since it was the               who had been her
 5   care provider in the home country and she had not
 6   been in contact with her parents that the
 7   should be viewed acting in place of the parents.
 8        Q.      And is it your understanding if the
 9   minor does not consent to telling the                   about
10   her pregnancy and termination, that the shelter or
11   the federal field specialist would be required to
12   do so anyway?
13        A.     The direction that I received and
14   conveyed was if she does not consent, the program
15   should proceed without consent.         That notification
16   would be done by the program staff, not the
17   federal staff specialist.
18        Q.     So I understand the difference, who
19   comprises the program staff?         Are you talking
20   about the shelter?
21        A.     The program staff would be individuals
22   who work at that grantee residential care shelter
23   provider.    That's distinct from ORR federal
24   personnel.
25        Q.     Thank you.    So there's the instruction


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 1   to tell the            in the home country.       Were
 2   there any other instructions that Mr. Lloyd
 3   conveyed to you about this particular minor?
 4        A.    One moment.
 5        Q.    Sure.     Feel free to take your time and
 6   see if there's anything in the email that jogs
 7   your memory.
 8        A.    It is my recollection that in this
 9   minor's case, the set of instructions involved
10   options counseling from a crisis pregnancy center,
11   notification of parents, later                 in home
12   country, continued ob-gyn prenatal care, the
13   option for spiritual counseling if the minor so
14   wished and/or supportive psychosocial counseling
15   services for the minor while in our care.            That is
16   my recollection of the full set of instructions.
17        Q.    If you could look on page No. 15595.            In
18   the email from                   to you, in I guess the
19   fourth paragraph, there's the discussion of the
20   minor undergoing an ultrasound.
21        A.    Um-hum.
22        Q.    Do you know whether that ultrasound took
23   place at a crisis pregnancy center or at a
24   different type of doctor's office?
25        A.    I don't recall whether that was provided


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 1   in a community ob-gyn clinic or in a CPC.
 2        Q.     It also says that minor has requested
 3   that during this ultrasound, the screen is turned
 4   to the side where she is not able to see the
 5   screen.
 6        Did you have any conversations with Mr. Lloyd
 7   about whether this minor would be required to view
 8   the ultrasound?
 9        A.     We had no conversation on that topic.
10        Q.     Have you had any conversations with
11   Mr. Lloyd, either in writing or verbally, about
12   whether a minor would be required to view an
13   ultrasound in the context of seeking an abortion?
14        A.     I don't recall any such conversation at
15   any time.
16        Q.     You enumerated a certain list of
17   instructions that you believe you had received
18   from Scott Lloyd with respect to this particular
19   minor.    Do you know whether they were carried out?
20   For example, do you know whether she was taken to
21   the crisis pregnancy center?
22        A.     I believe that she did visit a crisis
23   pregnancy center.      That's my recollection.        I do
24   not recall whether she opted to receive spiritual
25   counseling services.      I do know that the parental


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 1   or in this case the              notification of her
 2   pregnancy and wish for termination was conducted.
 3   That was performed.      And I do know that she
 4   received routine prenatal care.
 5        Q.    Do you believe that she continued to
 6   receive prenatal care even though this email that
 7   we were just talking about says she does not want
 8   to start any prenatal appointments?
 9        A.    I do not know if she had any subsequent
10   appointments following the date of this email.
11        Q.    So those were the two minors that I
12   think we talked about that had abortion requests
13   pending during our last meeting.
14        A.    Yes, that's correct.
15        Q.    Then there have been five since
16   approximately?
17        A.    I believe so.
18        Q.    So one of them, and this will be subject
19   to the protective order, was in a shelter in
20                             .   Does that sound familiar?
21        A.    Yes, that is correct.
22        Q.    Do you know what Mr. Lloyd's
23   instructions were for her abortion request?
24              MR. TOMLINSON:      Can I just state for the
25   record we're moving into non-30(b)(6) personal


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 1   territory.
 2              THE WITNESS:      In the case of the minor
 3   with the request from the                    shelter in
 4              , the instructions included parental
 5   notification.     However, that was ultimately not
 6   performed.
 7   BY MS. AMIRI:
 8        Q.    The instructions were for parental
 9   notification, but it was not performed for this
10   particular minor?
11        A.    That's correct.
12        Q.    Do you know why?
13        A.    Due to concerns from federal and program
14   staff regarding                  law regarding
15   notifications of the parents without the minor's
16   consent.
17        Q.    Do you know whether this particular
18   minor was instructed by Mr. Lloyd to be taken to a
19   crisis pregnancy center?
20        A.    I do not believe this minor was taken to
21   a crisis pregnancy center.        I do not recall such
22   an instruction.
23        Q.    Do you recall an instruction regarding
24   an adoptive family offer be read to the minor?
25        A.    Yes.


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                                                                        Page 138
 1        Q.    And what is your recollection of that
 2   adoptive family letter?
 3        A.    There was an unsolicited communication
 4   that we received in ORR from a community dwelling
 5   family offering to adopt should the minor carry
 6   her pregnancy to term.       We were directed to convey
 7   this communication from that individual to the
 8   minor through reading his message.          We redacted
 9   the email and phone number since he had not been
10   vetted.
11        Q.    You mentioned community dwelling.            What
12   does that mean?
13        A.    Sorry.    That's a term of art meaning
14   basically living out in the world and not
15   connected with the program.
16        Q.    Got it.     Do you know if ORR vetted this
17   adoptive -- prospective adoptive family before
18   they communicated this offer to the minor?
19        A.    He was not vetted.        For this reason, we
20   did not permit direct contact between that
21   individual and the minor.
22        Q.    Is this the only minor that was
23   instructed to receive by Scott Lloyd this letter
24   of prospective adoptive parents?
25        A.    I've not received any other instruction


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                                                                        Page 139
 1   to have any other such offer communicated to a
 2   minor by Scott.
 3         Q.    Did this minor independently indicate
 4   that she was interested in carrying her pregnancy
 5   to term and placing her child for adoption?
 6         A.    She never expressed an interest in
 7   adoption.    She indicated after this communication
 8   that she was maintaining her request to terminate
 9   the pregnancy.
10         Q.    From a social work perspective, do you
11   think it's appropriate for a minor who is
12   requesting an abortion to be read a letter from a
13   prospective family seeking to adopt her baby
14   should she carry to term?
15               MR. TOMLINSON:     Objection.      Foundation.
16         You can answer.
17               THE WITNESS:     I would not recommend such
18   an intervention.
19   BY MS. AMIRI:
20         Q.    What has happened -- sorry.         Let me just
21   go back.    Do you know whether Mr. Lloyd or anyone
22   else at ORR knew the couple who was making the
23   adoption offer prior to the solicitation coming
24   in?
25         A.    To my knowledge, no one had any prior


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                                                                           Page 140
 1   contact or was familiar with that individual.
 2           Q.    Do you know whether this particular
 3   minor was also given a brochure put out by the
 4   State of Texas about abortion?
 5           A.    I do not believe that the Texas options
 6   counseling curriculum materials were provided to
 7   this minor.
 8           Q.    Those materials have been provided to
 9   other minors in other circumstances?
10           A.    Yes.
11           Q.    You mentioned that there were other
12   abortion requests.         There's one currently pending
13   in           now.    What has Mr. Lloyd's instructions
14   been with respect to that particular minor?
15           A.    We've not received an abortion request
16   from a minor in             .
17           Q.    Were you aware before I had just asked
18   the question there was a minor in                   seeking
19   abortion?
20           A.    Yes.    I'm aware of a minor who
21   previously had a request that was not conveyed to
22   ORR.     I'm aware that a minor made a request and
23   engaged counsel.        She has since advised that she
24   does not wish to have the abortion.             There was
25   never a request made to us.


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                                                                        Page 141
 1        Q.     Do you know whether there were any
 2   instructions to take this minor to a crisis
 3   pregnancy center or offer spiritual counseling or
 4   any of the other list of things that have happened
 5   to prior minors?
 6        A.     None of those interventions have been
 7   directed to be performed as the minor has not made
 8   a request to us and has stated that she does not
 9   wish an abortion.
10        Q.     What are the other abortion requests
11   that have happened since your deposition that we
12   have not talked about and what have the
13   instructions been from Mr. Lloyd and the outcomes?
14        A.     I'm relying on my memory.        I believe
15   there have been other cases.         These have involved
16   minors who at one point expressed interest in or
17   request for TOP and subsequently withdrew that
18   request.
19        Q.     So the ones we have not talked about had
20   requested access to abortion and then decided
21   against an abortion?
22        A.     I believe that's correct.        I would need
23   to check.    There may be one other minor who also
24   aged out or was age rated.        The status of her
25   request I'm not sure about.


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                                                                        Page 142
 1        Q.    Do you know whether these minors have
 2   been instructed to go through the list of things
 3   that you have mentioned before in terms of a
 4   crisis pregnancy center visit, parental
 5   notification, things that have happened in the
 6   prior abortion requests?
 7        A.    In some cases.      In others, the minor
 8   rescinded the request prior to those instructions.
 9        Q.    So for some yes and for others no?
10        A.    Correct.
11              MS. AMIRI:     This might be a good place
12   to take a break.
13              THE VIDEOGRAPHER:       We are off the record
14   at 2:37.
15              (Recess from 2:37 p.m. to 2:58 p.m.)
16              THE VIDEOGRAPHER:       We are back on the
17   record at 2:58.
18   BY MS. AMIRI:
19        Q.    Just a few more questions, Mr. White.
20   There's something we haven't talked about yet, and
21   it's whether you have any knowledge about whether
22   ORR has restricted the discussion of abortion with
23   legal services organizations that are funded by
24   ORR, and I just wanted to see if you had any
25   knowledge of that issue.


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                                                                        Page 143
 1           A.   There has been no policy direction to
 2   our legal services providers not to -- there's
 3   been no direction not to discuss abortion with
 4   legal services organizations.
 5           Q.   We're going to ask you about the email
 6   sorry, the email findings from                 , which is
 7   Exhibit 28.
 8           A.   Okay.
 9           Q.   So I guess one of the questions I asked
10   before and perhaps you have some clarity now is
11   whether there were any other federal government
12   staff employees present during the meeting with
13   this particular minor other than                          .
14        A.      I've gone back and reviewed, and
15                        was the only federal official
16   present.
17        Q.      And I understand per your counsel I'm
18   allowed to ask whether                         made any
19   particular recommendations in this summary, in
20   this exhibit that perhaps had been unredacted.
21        A.      She made no recommendations regarding
22   providing or not providing TOP.
23        Q.      Did she provide any findings relating
24   to --
25        A.      She did.   She did.     She had two


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                                                                        Page 144
 1   findings.    The first is that the minor was able to
 2   verbalize that she understood she had the options
 3   of termination, carrying the pregnancy to term and
 4   parenting and carrying the pregnancy to term and
 5   placing the baby for adoption.         That was her first
 6   finding.
 7        The second finding was that the minor was not
 8   able to verbalize what would happen in the
 9   surgical termination procedure.         Those were her
10   two factual findings.
11        Q.     I don't think I have anything further,
12   but there is a document that I would want to ask
13   you about, but it has been redacted.           Maybe we can
14   go ahead and mark it.       I'm going to look for the
15   unredacted version.      We'll mark it as 33.
16               (Exhibit 33 was marked.)
17   BY MS. AMIRI:
18        Q.     I hand you what has been marked as
19   Exhibit 33, but I understand that your counsel
20   will pull an unredacted version.          But I wanted to
21   to be able to see if there was anything I could
22   ask you about an email that you wrote starting on
23   page 1555 and continuing onto 1556 that is
24   completely blacked out.
25               MR. TOMLINSON:     At this point, I'm going


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                                                                        Page 145
 1   to instruct him.
 2              MS. AMIRI:     You're going to take a break
 3   and see if there's anything that I can ask that
 4   isn't going to raise a question of whether
 5   something is protected by privilege.           Then that's
 6   my last line of questioning subject to anything
 7   that you all are going to ask.
 8              MR. TOMLINSON:      So we'll go off the
 9   record.
10              THE VIDEOGRAPHER:       Off the record at
11   3:02.
12              (Recess from 3:02 p.m. to 3:43 p.m.)
13              THE VIDEOGRAPHER:       We're back on the
14   record at 3:43.
15   BY MS. AMIRI:
16        Q.    You have in front of you Exhibit 33.
17   And I wanted to ask you about your email, which
18   starts on 1555 and goes onto the next page.             So I
19   believe there's some questions I can ask, and
20   Mr. Tomlinson will jump in if I have overstepped,
21   but I wanted to start first by just getting a
22   general sense of what this email is.
23        A.    This email is guidance from me to my
24   team on steps they need to take to take next steps
25   designed to inform Scott Lloyd's decision-making


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                                                                           Page 146
 1   on my recommendation to him to approve
 2   authorization and federal funding for the abortion
 3   of the minor in                  whom we have discussed.
 4           Q.    And were there any specific instructions
 5   laid out in this memo either from you or from
 6   Mr. Lloyd?
 7           A.    I conveyed Mr. Lloyd's direction to the
 8   team that                                     and one member
 9   of the health division UAC program should travel
10   to               to meet with the minor.
11           Q.    And those instructions are in other
12   emails in the chain that we have already discussed
13   at deposition already; is that fair?
14           A.    Yes, ma'am, that's correct.
15           Q.    Is there anything with respect to those
16   instructions that we have not already discussed or
17   that isn't in an exhibit that we have reviewed in
18   your deposition?        Is there something else
19   basically, some other instruction that we haven't
20   already talked about?
21           A.    No.    The instructions are those we've
22   discussed and that were executed by
23            .
24           Q.    I don't think I have anything further.
25   I think those are my limits on that document.                So


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                                                                        Page 147
 1   I don't have any further questions at this time.
 2              MR. TOMLINSON:      The federal defendants
 3   do not have any follow-up questions.
 4              MR. SPENCER:      Neither does the
 5   defendant-intervenor.
 6              THE VIDEOGRAPHER:       This concludes the
 7   video deposition of Jonathan White.          We're off the
 8   record at 3:46.
 9              (Whereupon, at 3:46 p.m., the taking of
10   the instant deposition ceased.)
11
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                                                                        Page 148
 1                       C E R T I F I C A T E
 2   DISTRICT OF COLUMBIA:
 3
 4        I, Ann Medis, Registered Professional Reporter
 5   and Notary Public, hereby certify the witness,
 6   COMMANDER JONATHAN WHITE, was by me first duly sworn
 7   to testify to the truth, that the foregoing deposition
 8   was taken at the time and place stated herein, and
 9   that the said deposition was recorded stenographically
10   by me and then reduced to printing under my direction,
11   and constitutes a true record of the testimony given
12   by said witness.
13        I certify the inspection, reading and signing of
14   said deposition were NOT waived by counsel for the
15   respective parties and by the witness.
16        I certify I am not a relative or employee of any
17   of the parties, or a relative or employee of either
18   counsel, and I am in no way interested directly or
19   indirectly in this action.
20        IN WITNESS WHEREOF, I have hereunto set my hand
21   and affixed my seal of office this 26th day of
22   February, 2018.
23
24                           ____________________________
                                     Notary Public
25


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                                                                        Page 149
 1                 TRANSPERFECT DEPOSITION SERVICES
                         216 East 45th Street
 2                             Suite 903
                       New York, New York 10017
 3                           212.400.8845
 4                          ERRATA SHEET
 5   CASE:         ACLU v HARGAN, ET AL.
     DATE:         FEBRUARY 13, 2018
 6   WITNESS:      COMMANDER JONATHAN WHITE
 7   Page   Line      Change and reason for change:
 8   ____   ____    _______________________________________
 9   ____   ____    _______________________________________
10   ____   ____    _______________________________________
11   ____   ____    _______________________________________
12   ____   ____    _______________________________________
13   ____   ____    _______________________________________
14   ____   ____    _______________________________________
15   ____   ____    _______________________________________
16   ____   ____    _______________________________________
17   ____   ____    _______________________________________
18   ____   ____    _______________________________________
19   ____   ____    _______________________________________
20   ____   ____    _______________________________________
21
22
     Subscribed and sworn to me this
23
     _______ day of ________________, 2018.
24
25   ______________________________________


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                                                                        Page 150
 1                   ACKNOWLEDGMENT OF DEPONENT
 2
 3        I, COMMANDER JONATHAN WHITE, do here certify
 4   that I have read the foregoing pages 1 to 45 and
 5   that the same is a correct transcription of the
 6   answers given by me to the questions herein
 7   propounded, except for the corrections or changes in
 8   form or substance, if any, noted in the attached
 9   errata sheet.
10
11
     ___________                   ___________________________
12   DATE                          COMMANDER JONATHAN WHITE
13
14
15
16
17
18
19
     Subscribed and sworn to me this
20
     _______ day of ________________, 2018.
21
22   ______________________________________
                 Notary Public
23
24
25


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